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               Exhibit A
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                          CONFIDENTIALITY, INTELLECTUAL PROPERTY
                           AND RESTRICTIVE COVENANTS AGREEMENT

         In return for my new or continued employment with Groupon, Inc., its subsidiaries,
affiliates, and acquired entities (collectively,          , any other monetary benefits received
at the time of signing, and other good and valuable consideration, including but not limited to
employee benefits, training, career progression, promotions, access to confidential information
and other monetary benefits, the receipt and sufficiency of which I hereby acknowledge, I agree
to the following:

I.        Confidentiality of Proprietary Information and Innovations

       1.      Proprietary Information. My employment status creates a relationship of
confidence and trust between Groupon and me with respect to any information that is not
generally known to the public and is otherwise treated by Groupon as confidential or proprietary
and is: (a) applicable to the business of Groupon or its subsidiaries; or (b) applicable to the
business of any client or customer of Groupon or its subsidiaries, which may be made known to
me by Groupon or by any client or customer of Groupon or its subsidiaries, or learned by me in
such context during the period of my employment.

        All such information has commercial value in the business in which Groupon is engaged
and is hereinafter cal                                 By way of illustration, but not limitation,
Proprietary Information includes any and all technical and non-technical information including
patent, copyright, trademark, trade secret, and proprietary information, techniques, sketches,
drawings, models, inventions, know-how, business methods, processes, apparatus, equipment,
algorithms, software programs, domain names, social media handles, code, software source
documents, flowcharts, tools, architectures, databases, menu layouts, routines, formats, data
compilers and assemblers, and formulae related to the current, future and proposed products and
services of Groupon or its subsidiaries, and including, without limitation, respective information
concerning research, experimental work, development, design details and specifications,
engineering, financial information, procurement requirements, purchasing manufacturing,
customer lists, job histories, job performance and salary information of employees, business
forecasts, sales and merchandising and marketing plans and information.
                          s proprietary or confidential information of any third party who may
disclose such information to Groupon or to me under any obligation of confidentiality in the


          2.        Ownership and Confidentiality of Proprietary Information.

                    (a)All Pr
                        licensors                                                    licensors shall
be the sole and exclusive owner of all patents, copyrights, trademarks, mask works, trade secrets,
domain names, social media handles and other rights in the Proprietary Information. I hereby
grant and assign to Groupon all rights, title and interest I may have or acquire in the Proprietary
Information, without further consideration, including all rights to sue for past infringement.
Neither the execution and delivery of this Agreement, nor the furnishing of any Proprietary
Information to me by Groupon, shall be construed as granting to me either expressly, by

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trade secrets or Proprietary Information, I agree to facilitate the return and/or remediation of such
Groupon property as may be requested by Groupon.

          5.    Prior Work. All previous work done by me for Groupon or its subsidiaries
relating in any way to the conception, reduction to practice, creation, derivation, design,
development, manufacture, sale or support of operations, products or services of Groupon, or by
Groupon, is the property of Groupon, and I hereby assign to Groupon all of my right, title and
interest in and to such previous work, without further consideration, including the right to sue for
past infringement.

        6.       Creative Works; Innovations.                                              Creative
Works
inventions (whether or not protectable under patent laws), works of authorship, information fixed
in any tangible medium of expression (whether or not protectable under copyright laws), moral
rights, mask works, trademarks, trade names, trade dress, trade secrets, know-how, ideas
(whether or not protectable under trade secret laws), and all other subject matter protectable
under patent, copyright, moral right, mask work, trademark, trade secret or other laws, and
includes without limitation all new or useful art, combinations, discoveries, formulae,
manufacturing techniques, technical developments, discoveries, artwork, software, code,
software source documents, flowcharts, tools, architectures, databases, menu layouts, routines,
formats, data compilers and assemblers, and designs.
Works that relate to: (a) the business of Groupon or its subsidiaries; (b) any current, future or
proposed products or services of Groupon or its subsidiaries; or (c) any product, service, or
activity that is similar to or competitive with those offered or proposed to be offered by Groupon
or its subsidiaries.                 further
inventions protected or protectable under the patent laws of any country.

        7.     Creative Works License. I hereby grant to Groupon and its subsidiaries a royalty
free, irrevocable, worldwide license (with rights to sublicense through multiple tiers of
sublicensees) to practice all applicable patent, copyright, trademark, moral right, mask work,
trade secret and other intellectual property rights relating to any Creative Works that: (a) were or
are conceived, reduced to practice, created, derived, developed, owned, or made by me; (b) are
not Innovations assigned to Groupon under paragraph 8; and (c) are used or incorporated with
my knowledge during the term of my employment or within three (3) months thereafter, through
my actions or inactions, directly or indirectly, into any operation, product or service of Groupon
or its subsidiaries. Notwithstanding the foregoing, I agree that I will not incorporate, direct,
permit or allow to be incorporated, any Creative Works, which are not Innovations assigned to
Groupon under paragraph 8, in any operation, product or service of Groupon or its subsidiaries


          8.    Assignment of Innovations. I hereby agree promptly to disclose and describe to
Groupon, and I hereby grant and
consideration, my entire right, title, and interest in and to: (a) with respect to Inventions, each
Invention, and any associated intellectual property rights, which I may solely or jointly conceive,
reduce to practice, create, derive, develop or make during the period of my employment (whether
during business hours or after business hours) with Groupon, except any Invention which meets
all of the following criteria (i)-(iii) (as demonstrated by me by evidence meeting the clear and

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convincing standard of proof): (i) the Invention does not relate, at the time of conception,
reduction to practice, creation, derivation, development, or making of such Innovation, to
                                                     pated research or development; (ii) the

                                     facilities or trade secret or other Proprietary Information; and
(iii) the Invention did not result from any work I performed for Groupon; and (b) with respect to
each of the Innovations which is not an Invention, each such Innovation, and any associated
intellectual property rights, which I may solely or jointly conceive, develop, reduce to practice,
create, derive, develop, or make during the period of my employment (whether during business
hours or after business hours) with Groupon (collectively, the Innovations identified in clauses
(a) and (b) of this paragraph 8 are hereinaft                                     To the extent any of
the rights, title and interest in and to Groupon Innovations cannot be assigned by me to Groupon
under applicable law, I hereby grant to Groupon an exclusive, royalty-free, transferable,
irrevocable, worldwide license (with rights to sublicense through multiple tiers of sublicensees)
to practice such non-assignable rights, title and interest. To the extent any of the rights, title and
interest in and to Groupon Innovations can be neither assigned nor licensed by me to Groupon, I
hereby irrevocably waive and agree never to assert such non-assignable and non-licensable
rights, title and interest against Groupon or any of Group                                           -
assignable and non-licensable rights.

         9.     Future Innovations. I recognize that Innovations or Proprietary Information that
are conceived, reduced to practice, created, derived, developed, or made by me, alone or with
others, within three (3) months after termination of my employment may have been conceived,
reduced to practice, created, derived, developed, or made, as applicable, in significant part while
employed by or working for Groupon. Accordingly, I agree that such Innovations and
Proprietary Information shall be presumed to have been conceived, reduced to practice, created,
derived, developed, or made, as applicable, during my employment with Groupon and shall be
deemed a work made for hire and made in the course of services rendered as an employee of
Groupon and shall be the exclusive property of Groupon. To the extent that title to such
Innovations or Proprietary Information does not vest in Groupon by operation of law, I hereby
assign and transfer to Groupon, its successors, legal representatives and assigns, and upon the
future creation thereof automatically assign to Groupon, its successors, legal representatives and
assigns, without further consideration, my entire right, title, and interest in and to any and all
such Innovations or Proprietary Information, including the right to sue for past infringement of
same, with no express or implied license to me except as may subsequently be executed in
writing by Groupon. The assignments of paragraph 8 and this paragraph 9 do not apply to any
invention that qualifies under 765 Ill. Comp. Stat. §1060, Kan. Stat. Ann. §44-130, Minn. Stat.
§181.78, or Wash. Rev. Code §49.44.140, copies of which may be found here:
https://skynet.groupon.com/hr/hr_essentials_north_america/stateinventionstatutes.

          10.       Cooperation in Perfecting Rights to Proprietary Information and Innovations.

                    (a)         I agree to perform, during and after my employment, all acts deemed

obtaining and enforcing the full benefits, enjoyment, rights and title throughout the world in the
Proprietary Information, Creative Works, and Innovations assigned or licensed to, or whose
rights are irrevocably waived and shall not be asserted against, Groupon under this Agreement.

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Such acts may include, but are not limited to, execution of documents and assistance or
cooperation: (i) in the filing, prosecution, registration, and memorialization of assignment of any
applicable patents, copyrights, mask work, or other applications; (ii) in the enforcement of any
applicable patents, copyrights, mask work, moral rights, trade secrets, or other proprietary rights;
and (iii) in other legal proceedings related to the Proprietary Information, Creative Works, or
Innovations.

               (b)     In the event that Groupon is unable for any reason to secure my signature
to any document required to file, prosecute, register, or memorialize the assignment of any
patent, copyright, mask work or other applications or to enforce any patent, copyright, mask
work, moral right, trade secret or other proprietary right under any Proprietary Information
(including improvements thereof) or any Groupon Innovations (including derivative works,
improvements, renewals, extensions, continuations, divisionals, continuations in part, continuing
patent applications, reissues, and reexaminations thereof), I hereby irrevocably designate and

attorneys-in-fact to act for and on my behalf and instead of me: (i) to execute, file, prosecute,
register and memorialize the assignment of any such application; (ii) to execute and file any
documentation required for such enforcement; and (iii) to do all other lawfully permitted acts to
further the filing, prosecution, registration, memorialization of assignment, issuance, and
enforcement of patents, copyrights, mask works, moral rights, trade secrets or other rights under
the Proprietary Information, or Groupon Innovations, all with the same legal force and effect as
if executed by me.

       11.      No Violation of Rights of Third Parties. My performance of all the terms of this
Agreement and as an employee of Groupon does not and will not breach any agreement to keep
in confidence proprietary information, knowledge or data acquired by me prior to my
employment with Groupon, and I will not disclose to Groupon, or induce Groupon to use, any
confidential or proprietary information or material belonging to any previous employer or others.
I am not a party to any other agreement which will interfere with my full compliance with this
Agreement. I agree not to enter into any agreement, whether written or oral, in conflict with the
provisions of this Agreement.

II.       Restrictive Covenants/Notifications/Certification/Exit Interview

          12.  Restricted Period. I agree that the Restrictive Covenants in this Section II shall
apply during my employment and during
begins as of the date I cease to be employed by Groupon and is defined as eighteen (18) months
from the Date of Termination.                                                            internal
Human Resources Information Systems that my employment was terminated with Groupon.

          13.  Non-Compete, Non-Solicit of Business, Non-Solicit of Employees/Contractors
and No-Hire                            . I acknowledge and agree that during my employment
and during the Restricted Period, regardless of the reason for my termination, I will not, without
                   other than on behalf of Groupon:

              (a)  Directly or indirectly, and whether or not for compensation, own (other
than less than 5% ownership in a publicly traded company), manage, operate, consult or

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participate in the ownership, management, operation or control of, or be employed by, consult
with or contract with any entity which is in competition with Groupon in the Geographic Area.
The restriction in the preceding sentence only applies to positions with responsibilities similar to
any position I held with Groupon during the twelve (12) months preceding the termination of my
employment or relationship with Groupon or in which I would have responsibility for and access
to confidential information similar or relevant to that which I had access to during the twelve
(12) months preceding the termination of my employment or relationship with Groupon. The
Geographic Area shall mean any geographic territory where I was assigned to work and/or over
which I had responsibilities during the twelve (12) months preceding the termination of my
employment or relationship with Groupon and any area within a 50-mile radius of such
geographic territory;

                (b)     Directly or indirectly: (i) induce or attempt to induce any merchant,
customer, supplier, licensee, or business relation of Groupon to cease doing business with
Groupon, or in any way interfere with the relationship between Groupon and any merchant,
customer, supplier, licensee, or business relation of Groupon; or (ii) solicit or participate in
soliciting the business of any then-current or prospective merchant or customer which was a
merchant or customer of Groupon within one year prior to such solicitation, to purchase products
or services similar to, or competitive with, the products or services then-offered by Groupon, if I
had direct contact with the merchant or customer or any confidential information related to such
products or services during the twelve (12) months preceding the termination of my employment
or relationship with Groupon;

                (c)    Solely or jointly with others, and directly by my own actions or indirectly
by the actions of other people or companies acting on my behalf or at my behest solicit,
encourage, or take any other action, including but not limited to, using an agent to solicit, which
is intended to induce or encourage, or has the effect of inducing or encouraging, any employee or
independent contractor/consultant of Groupon to terminate his/her employment with Groupon or
to cease providing services to Groupon; and

               (d)     Solely or jointly with others, and directly by my own actions or indirectly
by the actions of other people or companies acting on my behalf or at my behest hire, contract,
take away or cause to be hired, contracted or taken away any employee or independent
contractor/consultant of Groupon.

        14.    Reasonableness of Restrictive Covenants. I acknowledge that the Restrictive
Covenants contained herein may limit and/or restrict me from soliciting talent, pursuing business
relationships and/or pursuing future employment opportunities, despite the fact that those
opportunities may be attractive, provide higher compensation, and may not be available at the
conclusion of the Restricted Period. I acknowledge that the Restrictive Covenants are

Groupon has with its employees, contractors/consultants, merchants and customers, which were
developed at considerable expense, time and difficulty; my position with Groupon; and my
                                                               rets.

          15.  Notifications, Certification and Exit Interview. While employed by Groupon and
during the Restricted Period, I agree:

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        (a)    (i) To provide a copy of this Agreement to any person or entity from whom I seek
work or employment as an employee, consultant, temporary worker, owner and/or independent
contractor in the same or similar industry as Groupon or in a position with the same or similar
job responsibilities or duties as I had at Groupon; and (ii) authorize Groupon to provide a copy of
this Agreement to any such person or entity and discuss the provisions of this Agreement with
said person or entity;

        (b)    To identify in writing within three (3) business days of a request by a Human
Resources representative: (i) all persons or entities with whom I have accepted or plan to accept
employment or work as an employee, consultant, temporary worker, owner and/or independent
contractor in the same or similar industry as Groupon or in a position with the same or similar
job responsibilities or duties as I have/had at Groupon; and (ii) provide to Groupon a general job
description identifying my title and describing my duties and responsibilities in my new
engagement;

     (c)    To certify my compliance with this Agreement in writing, if requested by a
Human Resources representative; and

       (d)     To make myself available for an exit interview with a designated Groupon
representative at the time of my departure from Groupon.

III.      Miscellaneous Employment Provisions

        16.    At-Will Employment. I will perform for Groupon such duties as may be
designated by Groupon from time to time. I agree that my employment with Groupon is for no
specified term, and may be terminated by Groupon at any time, with or without cause, and with
or without notice. Similarly, I may terminate my employment with Groupon at any time, with or
without cause, and with or without notice.

        17.     Loyalty to Groupon and Other Employment. While employed by Groupon, I will
devote my full professional time, attention and loyalty to Groupon. I will not be employed by,
consult for, contract with or work for, in any capacity, any person or entity that could harm
             reputation or good name or that could be detrimental to Groupon s business,
including its relationship with other businesses and its employees, as determined by Groupon.
Further, I will not engage in any other employment (or contractor relationship) without the prior
written consent of a Groupon Human Resources Business Partner.
Global Code of Conduct contains information about my duty of loyalty, among other things, and
agree to review and abide by it.

          18.   Return of Equipment. Upon termination (or reassignment or at the request of
Groupon, if directed), I agree to immediately return all Groupon-issued equipment, including my
laptop computer, desktop computer, accessories (monitors and keyboards), tablets and cellular
devices. I understand that if I do not return such equipment or if I return such equipment
damaged and/or inoperable, Groupon reserves the right to: (i) withhold my wages or other
monies owed until all such materials are returned in working order or deduct from my paycheck
the fair market value of the equipment, consistent with the requirements of applicable law;
and/or (ii) take legal action to recover the equipment or the reasonable cost of the equipment. I


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further agree that if Groupon takes legal action and prevails in such action, I will reimburse
Groupon for all costs incurred taking such action, including but not limited to, reasonable


       19.      Survival. This Agreement: (a) shall survive my employment with Groupon;
(b) does not in any way restrict my right or the right of Groupon to terminate my employment at
any time, for any reason or for no reason; (c) inures to the benefit of successors and assigns of
Groupon; and (d) is binding upon my heirs and legal representatives.

          20.   Injunctive Relief. A breach of any of the promises or agreements contained
herein will result in irreparable and continuing damage to Groupon for which there will be
insufficient adequate remedy at law, and Groupon shall be entitled to injunctive relief and/or a
decree for specific performance, and such other relief as may be proper (including monetary
damages if appropriate). Groupon shall be irreparably harmed if I were to violate this
Agreement and no bond shall be necessary by Groupon in connection with any injunctive relief
obtained against me for a violation of this Agreement. Should Groupon successfully enforce any
portion of this Agreement before a trier of fact or in an arbitration proceeding, Groupon shall be
                                                                        s a result of enforcing this
Agreement against me.

        21.    Consideration. I acknowledge and agree that I have received good and valuable
consideration in exchange for entering into this Agreement, including but not limited to my offer
of employment, continued employment, employee benefits, training, career progression and
promotions, access to confidential information and any other monetary benefits I received at the
time of signing this Agreement.

          22.   Notices. Any notice required or permitted by this Agreement shall be in writing
and shall be delivered as follows, with notice deemed given as indicated: (a) by personal
delivery, when delivered personally; (b) by overnight courier, upon written verification of
receipt; (c) by telecopy or facsimile transmission, upon acknowledgment of receipt of electronic
transmission; (d) by electronic mail, upon acknowledgment of receipt of electronic submission;
or (e) by certified or registered mail, return receipt requested, upon verification of receipt.
Notices to me shall b                                                                s as I may
specify in writing.                                               Head of Human Resources or
to such other address as Groupon may specify in writing.

          23.  Governing Law. I acknowledge and represent that I have substantial material
connections to Illinois by way of my employment with Groupon. As such, I agree that this
Agreement shall be governed in all respects by the laws of the United States of America and by
the laws of the State of Illinois. Each of the parties irrevocably consents to the exclusive
personal and subject matter jurisdiction of the federal and state courts located in Illinois, as
applicable, for any matter arising out of or relating to this Agreement, except that in actions
seeking to enforce any order or any judgment of such federal or state courts located in Illinois,
such personal jurisdiction shall be nonexclusive. The forum for any disputes arising out of this
Agreement shall be in the federal and state courts of Illinois.




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            Exhibit B
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                Exhibit C
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                    127,&( 2) 5(675,&7(' 6+$5( 81,7 $:$5'


7KH 3DUWLFLSDQW DV GHILQHG KHUHLQ KDV EHHQ JUDQWHG D )XOO 9DOXH $ZDUG RI UHVWULFWHG VKDUH XQLWV
 ³568V´ LQ *URXSRQ ,QF WKH ³&RPSDQ\´  VXEMHFW WR WKH WHUPV DQG FRQGLWLRQV RI WKH 5HVWULFWHG
6KDUH 8QLW $ZDUG $JUHHPHQW WKH ³$JUHHPHQW´ DQG WKH *URXSRQ ,QF  ,QFHQWLYH 3ODQ DV
DPHQGHG WKH ³3ODQ´  DV VHW IRUWK EHORZ &DSLWDOL]HG WHUPV LQ WKLV 1RWLFH RI 5HVWULFWHG 6KDUH 8QLW
$ZDUG WKLV ³1RWLFH´  XQOHVV RWKHUZLVH GHILQHG KHUHLQ VKDOO KDYH WKH PHDQLQJV DVVLJQHG WR WKHP
LQ WKH 3ODQ

      1DPH SUNG      SHIN                              WKH ³3DUWLFLSDQW´

      7RWDO 1XPEHU RI 568V 12,613

      *UDQW 'DWH 04/21/2021

      9HVWLQJ 8QOHVV RWKHUZLVH SURYLGHG LQ WKH 3DUWLFLSDQW¶V LQGLYLGXDO HPSOR\PHQW VHYHUDQFH
        RU RWKHU DJUHHPHQW V ZLWK WKH &RPSDQ\ WKH 568V ZLOO YHVW SHU WKH YHVWLQJ VFKHGXOH VHW
        IRUWK EHORZ ³9HVWLQJ 'DWH V ´  EXW RQO\ LI WKH 3DUWLFLSDQW KDV FRQWLQXHG WR SURYLGH
        PDWHULDO VHUYLFHV WR WKH &RPSDQ\ ZKHWKHU DV DQ RIILFHU GLUHFWRU HPSOR\HH FRQVXOWDQW
        LQGHSHQGHQW FRQWUDFWRU RU DJHQW LQ ³&RQWLQXRXV 6HUYLFH 6WDWXV´ DV RI HDFK DSSOLFDEOH
        9HVWLQJ 'DWH VXEMHFW WR WKH &RPSDQ\¶V RU WKH DSSOLFDEOH 6XEVLGLDU\¶V ULJKW LQ LWV
        GLVFUHWLRQ WR FRQWLQXH RU SDXVH YHVWLQJ XSRQ DQ DSSURYHG OHDYH RI DEVHQFH WR WKH H[WHQW
        SHUPLWWHG XQGHU DSSOLFDEOH ODZ

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        03/20/2024                    4,205



      6HWWOHPHQW 7KH 568V VKDOO EH FRQYHUWHG WR 6KDUHV FRQWLQJHQW XSRQ WKH 3DUWLFLSDQW¶V
        &RQWLQXRXV 6HUYLFH 6WDWXV WKURXJK WKH 9HVWLQJ 'DWH V  DV DSSOLFDEOH DQG ZLOO EH LVVXHG WR
        WKH 3DUWLFLSDQW LQ WKH IRUP RI 6KDUHV DV VRRQ DV SUDFWLFDEOH WKHUHDIWHU VXEMHFW WR DQ\ WD[
        ZLWKKROGLQJ REOLJDWLRQ ZLWK UHVSHFW WR DQ\ 7D[5HODWHG ,WHPV DV GHILQHG LQ 6HFWLRQ  RI
        WKH $JUHHPHQW 

      7HUPLQDWLRQ 8QOHVV RWKHUZLVH SURYLGHG LQ WKH 3DUWLFLSDQW¶V LQGLYLGXDO HPSOR\PHQW
        VHYHUDQFH RU RWKHU DJUHHPHQW V ZLWK WKH &RPSDQ\ XSRQ WKH 3DUWLFLSDQW¶V 7HUPLQDWLRQ
        'DWH DOO XQYHVWHG 568V DZDUGHG LQ WKLV 1RWLFH DQG WKH $JUHHPHQW VKDOO EH IRUIHLWHG DQG
        DOO ULJKWV RI WKH 3DUWLFLSDQW WR VXFK 568V VKDOO LPPHGLDWHO\ WHUPLQDWH ,Q FDVH RI DQ\
        GLVSXWH DV WR ZKHWKHU D 7HUPLQDWLRQ 'DWH KDV RFFXUUHG WKH &RPPLWWHH¶V GHWHUPLQDWLRQ
        VKDOO EH ILQDO ELQGLQJ DQG FRQFOXVLYH

      *HQHUDO 7HUPV 7KH 3DUWLFLSDQW XQGHUVWDQGV WKDW WKH 3DUWLFLSDQW¶V HPSOR\PHQW ZLWK RU
        VHUYLFH WR WKH &RPSDQ\ LV IRU DQ XQVSHFLILHG GXUDWLRQ FDQ EH WHUPLQDWHG DW DQ\ WLPH LQ
        DFFRUGDQFH ZLWK DSSOLFDEOH ODZ DQG WKDW QRWKLQJ LQ WKLV 1RWLFH WKH $JUHHPHQW RU WKH 3ODQ


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        FKDQJHV WKH QDWXUH RI WKDW UHODWLRQVKLS 7KH 3DUWLFLSDQW DFNQRZOHGJHV WKDW WKH YHVWLQJ RI
        WKH 568V SXUVXDQW WR WKLV 1RWLFH DQG WKH $JUHHPHQW LV FRQGLWLRQHG RQ WKH RFFXUUHQFH RI
        9HVWLQJ 'DWH V  7KH 3DUWLFLSDQW XQGHUVWDQGV WKDW WKLV 1RWLFH LV VXEMHFW WR WKH WHUPV DQG
        FRQGLWLRQV RI WKH $JUHHPHQW DQG WKH 3ODQ SURVSHFWXV WKDW FRQWDLQV WKH HQWLUH SODQ ERWK RI
        ZKLFK DUH LQFRUSRUDWHG KHUHLQ E\ UHIHUHQFH 7KH 3DUWLFLSDQW UHSUHVHQWV DQG ZDUUDQWV WKDW
        WKH 3DUWLFLSDQW KDV UHFHLYHG DQG UHDG WKLV 1RWLFH WKH $JUHHPHQW DQG WKH 3ODQ ,I WKHUH DUH
        DQ\ LQFRQVLVWHQFLHV EHWZHHQ WKLV 1RWLFH RU $JUHHPHQW DQG WKH 3ODQ WKH WHUPV RI WKH 3ODQ
        ZLOO JRYHUQ

 3$57,&,3$17

 Signed Electronically

 05/03/2021




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&DSLWDOL]HG WHUPV LQ WKLV DJUHHPHQW WKLV ³$JUHHPHQW´  XQOHVV RWKHUZLVH GHILQHG KHUHLQ VKDOO
KDYH WKH PHDQLQJV DVVLJQHG WR WKHP LQ WKH *URXSRQ ,QF  ,QFHQWLYH 3ODQ WKH ³3ODQ´ 

       <RX DV WKH 3DUWLFLSDQW KDYH EHHQ JUDQWHG D )XOO 9DOXH $ZDUG RI UHVWULFWHG VKDUH XQLWV
 ³568V´ LQ *URXSRQ ,QF WKH ³&RPSDQ\´ VXEMHFW WR WKH WHUPV UHVWULFWLRQV DQG FRQGLWLRQV RI
WKH 3ODQ WKH 1RWLFH RI 5HVWULFWHG 6KDUH 8QLW $ZDUG WKH ³1RWLFH´ DQG WKLV $JUHHPHQW

      1R 6WRFNKROGHU 5LJKWV 8QOHVV DQG XQWLO VXFK WLPH DV 6KDUHV DUH LVVXHG LQ VHWWOHPHQW RI
        YHVWHG 568V WKH 3DUWLFLSDQW VKDOO KDYH QR RZQHUVKLS RI WKH 6KDUHV XQGHUO\LQJ WKH 568V
        DQG VKDOO KDYH QR ULJKW WR UHFHLYH GLYLGHQGV RU GLYLGHQG HTXLYDOHQWV ZLWK UHVSHFW WR VXFK
        6KDUHV RU WR YRWH VXFK 6KDUHV

      1R 7UDQVIHU $ZDUGV XQGHU WKH 3ODQ DUH QRW WUDQVIHUDEOH H[FHSW WR WKH 3DUWLFLSDQW¶V
        %HQHILFLDU\ XSRQ WKH GHDWK RI WKH 3DUWLFLSDQW

      7D[ :LWKKROGLQJ 2EOLJDWLRQV

         D         5HJDUGOHVV RI DQ\ DFWLRQ WKH &RPSDQ\ WDNHV ZLWK UHVSHFW WR DQ\ RU DOO LQFRPH WD[
                   VRFLDO LQVXUDQFH SD\UROO WD[ SD\PHQW RQ DFFRXQW RU RWKHU WD[UHODWHG LWHPV UHODWHG
                   WR WKH 3DUWLFLSDQW¶V SDUWLFLSDWLRQ LQ WKH 3ODQ DQG OHJDOO\ DSSOLFDEOH WR WKH 3DUWLFLSDQW
                    ³7D[5HODWHG ,WHPV´  WKH 3DUWLFLSDQW DFNQRZOHGJHV WKDW WKH XOWLPDWH OLDELOLW\ IRU
                   DOO 7D[5HODWHG ,WHPV LV DQG UHPDLQV WKH 3DUWLFLSDQW¶V UHVSRQVLELOLW\ DQG PD\
                   H[FHHG WKH DPRXQW DFWXDOO\ ZLWKKHOG E\ WKH &RPSDQ\ 7KH 3DUWLFLSDQW IXUWKHU
                   DFNQRZOHGJHV WKDW WKH &RPSDQ\ L PDNHV QR UHSUHVHQWDWLRQV RU XQGHUWDNLQJV
                   UHJDUGLQJ WKH WUHDWPHQW RI DQ\ 7D[5HODWHG ,WHPV LQ FRQQHFWLRQ ZLWK DQ\ DVSHFW RI
                   WKH JUDQW RI 568V LQFOXGLQJ WKH JUDQW YHVWLQJ RU VHWWOHPHQW RI 568V WKH
                   VXEVHTXHQW VDOH RI 6KDUHV DFTXLUHG SXUVXDQW WR VXFK YHVWLQJ DQG WKH UHFHLSW RI DQ\
                   GLYLGHQGV DQGRU GLYLGHQG HTXLYDOHQWV DQG LL GRHV QRW FRPPLW WR DQG LV XQGHU QR
                   REOLJDWLRQ WR VWUXFWXUH WKH WHUPV RI WKH JUDQW RU DQ\ DVSHFW RI WKH 568V WR UHGXFH RU
                   HOLPLQDWH WKH 3DUWLFLSDQW¶V OLDELOLW\ IRU 7D[5HODWHG ,WHPV RU DFKLHYH DQ\ SDUWLFXODU
                   WD[ UHVXOW )XUWKHU LI WKH 3DUWLFLSDQW EHFRPHV VXEMHFW WR WD[ LQ PRUH WKDQ RQH
                   MXULVGLFWLRQ EHWZHHQ WKH *UDQW 'DWH DQG WKH GDWH RI DQ\ UHOHYDQW WD[DEOH HYHQW WKH
                   3DUWLFLSDQW DFNQRZOHGJHV WKDW WKH &RPSDQ\ PD\ EH UHTXLUHG WR ZLWKKROG RU DFFRXQW
                   IRU 7D[5HODWHG ,WHPV LQ PRUH WKDQ RQH MXULVGLFWLRQ

         E         3ULRU WR DQ\ UHOHYDQW WD[DEOH RU WD[ ZLWKKROGLQJ HYHQW WKH 3DUWLFLSDQW VKDOO SD\ RU
                   PDNH DGHTXDWH DUUDQJHPHQWV VDWLVIDFWRU\ WR WKH &RPSDQ\ WR VDWLVI\ DOO 7D[5HODWHG
                   ,WHPV ,Q WKLV UHJDUG WKH 3DUWLFLSDQW DXWKRUL]HV WKH &RPSDQ\ RU LWV DJHQWV DW WKH
                   &RPSDQ\¶V GLVFUHWLRQ WR VDWLVI\ WKH REOLJDWLRQV ZLWK UHJDUG WR DOO 7D[5HODWHG
                   ,WHPV E\ RQH RU PRUH RI WKH IROORZLQJ

                   L      :LWKKROGLQJ IURP DQ\ ZDJHV RU RWKHU FDVK FRPSHQVDWLRQ SDLG WR WKH
                          3DUWLFLSDQW E\ WKH &RPSDQ\


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                   LL     :LWKKROGLQJ RWKHUZLVH GHOLYHUDEOH           6KDUHV    WR   EH   LVVXHG   XSRQ
                          YHVWLQJVHWWOHPHQW RI WKH 568V RU

                   LLL    :LWKKROGLQJ IURP WKH SURFHHGV RI WKH VDOH RI 6KDUHV DFTXLUHG XSRQ
                          YHVWLQJVHWWOHPHQW RI WKH 568V HLWKHU WKURXJK D YROXQWDU\ VDOH RU WKURXJK D
                          PDQGDWRU\ VDOH DUUDQJHG E\ WKH &RPSDQ\ RQ WKH 3DUWLFLSDQW¶V EHKDOI
                          SXUVXDQW WR WKLV DXWKRUL]DWLRQ 

         F         7R DYRLG QHJDWLYH DFFRXQWLQJ WUHDWPHQW WKH &RPSDQ\ PD\ ZLWKKROG RU DFFRXQW IRU
                   7D[5HODWHG ,WHPV E\ FRQVLGHULQJ DSSOLFDEOH PLQLPXP VWDWXWRU\ ZLWKKROGLQJ
                   DPRXQWV RU RWKHU DSSOLFDEOH ZLWKKROGLQJ UDWHV ,I WKH REOLJDWLRQ IRU 7D[5HODWHG
                   ,WHPV LV VDWLVILHG E\ ZLWKKROGLQJ LQ 6KDUHV IRU WD[ SXUSRVHV WKH 3DUWLFLSDQW VKDOO
                   EH GHHPHG WR KDYH EHHQ LVVXHG WKH IXOO QXPEHU RI 6KDUHV VXEMHFW WR WKH YHVWHG
                   568V QRWZLWKVWDQGLQJ WKDW D QXPEHU RI 6KDUHV DUH KHOG EDFN VROHO\ IRU WKH SXUSRVH
                   RI SD\LQJ WKH 7D[5HODWHG ,WHPV GXH DV D UHVXOW RI DQ\ DVSHFW RI WKH 3DUWLFLSDQW¶V
                   SDUWLFLSDWLRQ LQ WKH 3ODQ )LQDOO\ WKH 3DUWLFLSDQW VKDOO SD\ WR WKH &RPSDQ\ DQ\
                   DPRXQW RI 7D[5HODWHG ,WHPV WKDW WKH &RPSDQ\ PD\ EH UHTXLUHG WR ZLWKKROG DV D
                   UHVXOW RI WKH 3DUWLFLSDQW¶V SDUWLFLSDWLRQ LQ WKH 3ODQ WKDW FDQQRW EH VDWLVILHG E\ WKH
                   PHDQV SUHYLRXVO\ GHVFULEHG 7KH &RPSDQ\ PD\ UHIXVH WR GHOLYHU WKH 6KDUHV RU
                   SURFHHGV RI WKH VDOH RI 6KDUHV LI WKH 3DUWLFLSDQW IDLOV WR FRPSO\ ZLWK WKH
                   3DUWLFLSDQW¶V REOLJDWLRQV LQ FRQQHFWLRQ ZLWK WKH 7D[5HODWHG ,WHPV

         G         )XUWKHU WR WKH H[WHQW DSSOLFDEOH WKH VHWWOHPHQW RI WKH 568V LV LQWHQGHG WR HLWKHU EH
                   H[HPSW IURP 6HFWLRQ $ RI WKH &RGH XQGHU WKH ³VKRUWWHUP GHIHUUDO´ H[HPSWLRQ
                   RU RWKHUZLVH FRPSO\ ZLWK 6HFWLRQ $ RI WKH &RGH DQG WKLV $JUHHPHQW ZLOO EH
                   LQWHUSUHWHG RSHUDWHG DQG DGPLQLVWHUHG LQ D PDQQHU WKDW LV FRQVLVWHQW ZLWK WKLV
                   LQWHQW ,Q IXUWKHUDQFH RI WKLV LQWHQW WKH &RPSDQ\ PD\ DW DQ\ WLPH DQG ZLWKRXW WKH
                   3DUWLFLSDQW¶V FRQVHQW PRGLI\ WKH WHUPV RI WKH $ZDUG DV LW GHWHUPLQHV DSSURSULDWH
                   WR FRPSO\ ZLWK WKH UHTXLUHPHQWV RI 6HFWLRQ $ RI WKH &RGH DQG WKH UHODWHG 86
                   'HSDUWPHQW RI 7UHDVXU\ JXLGDQFH 7KH &RPSDQ\ PDNHV QR UHSUHVHQWDWLRQ RU
                   FRYHQDQW WR HQVXUH WKDW WKH 568V VHWWOHPHQW RI WKH 568V RU RWKHU SD\PHQW
                   KHUHXQGHU DUH H[HPSW IURP RU FRPSOLDQW ZLWK 6HFWLRQ $ RI WKH &RGH DQG ZLOO
                   KDYH QR OLDELOLW\ WR WKH 3DUWLFLSDQW RU DQ\ RWKHU SDUW\ LI WKH VHWWOHPHQW RI WKH 568V
                   RU RWKHU SD\PHQW KHUHXQGHU WKDW LV LQWHQGHG WR EH H[HPSW IURP RU FRPSOLDQW ZLWK
                   6HFWLRQ $ RI WKH &RGH LV QRW VR H[HPSW RU FRPSOLDQW RU IRU DQ\ DFWLRQ WDNHQ E\
                   WKH &RPSDQ\ ZLWK UHVSHFW WKHUHWR

      &RPSOLDQFH ZLWK /DZV DQG 5HJXODWLRQV 7KH LVVXDQFH RI 6KDUHV XQGHUO\LQJ WKH 568V
        ZLOO EH VXEMHFW WR DQG FRQGLWLRQHG XSRQ FRPSOLDQFH E\ WKH &RPSDQ\ DQG WKH 3DUWLFLSDQW
         LQFOXGLQJ DQ\ ZULWWHQ UHSUHVHQWDWLRQV ZDUUDQWLHV DQG DJUHHPHQWV DV WKH &RPPLWWHH PD\
        UHTXHVW RI WKH 3DUWLFLSDQW IRU FRPSOLDQFH ZLWK DOO DSSOLFDEOH ODZV ZLWK DOO DSSOLFDEOH VWDWH
        IHGHUDO ORFDO DQG IRUHLJQ ODZV DQG UHJXODWLRQV RI DQ\ JRYHUQPHQWDO DXWKRULW\ LQFOXGLQJ
        DGRSWLQJ DQ\ VXFK FRQIRUPLQJ DPHQGPHQWV DV DUH QHFHVVDU\ WR FRPSO\ ZLWK 6HFWLRQ $
        RI WKH &RGH LI DSSOLFDEOH  DQG ZLWK DOO DSSOLFDEOH UHTXLUHPHQWV RI DQ\ QDWLRQDO RU UHJLRQDO
        VHFXULWLHV H[FKDQJH RU TXRWDWLRQ V\VWHP RQ ZKLFK WKH 6KDUHV PD\ EH OLVWHG RU TXRWHG DW WKH
        WLPH RI VXFK LVVXDQFH RU WUDQVIHU



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       1R $GYLFH 5HJDUGLQJ $ZDUG 7KH &RPSDQ\ LV QRW SURYLGLQJ DQ\ WD[ OHJDO RU ILQDQFLDO
         DGYLFH QRU LV WKH &RPSDQ\ PDNLQJ DQ\ UHFRPPHQGDWLRQV UHJDUGLQJ WKH 3DUWLFLSDQW¶V
         SDUWLFLSDWLRQ LQ WKH 3ODQ RU WKH DFTXLVLWLRQ RU VDOH RI WKH XQGHUO\LQJ 6KDUHV 7KH 3DUWLFLSDQW
         LV KHUHE\ DGYLVHG WR FRQVXOW ZLWK WKH 3DUWLFLSDQW¶V RZQ SHUVRQDO WD[ OHJDO DQG ILQDQFLDO
         DGYLVRUV UHJDUGLQJ WKH 3DUWLFLSDQW¶V SDUWLFLSDWLRQ LQ WKH 3ODQ EHIRUH WDNLQJ DQ\ DFWLRQ
         UHODWHG WR WKH 3ODQ

       /HJHQG RQ &HUWLILFDWHV 7KH FHUWLILFDWHV DQGRU ERRNHQWU\ QRWDWLRQ UHSUHVHQWLQJ WKH
         6KDUHV LVVXHG KHUHXQGHU VKDOO EH VXEMHFW WR VXFK VWRS WUDQVIHU RUGHUV DQG RWKHU UHVWULFWLRQV
         DV WKH &RPPLWWHH PD\ GHHP DGYLVDEOH XQGHU WKH 3ODQ WKLV $JUHHPHQW RU WKH UXOHV
         UHJXODWLRQV DQG RWKHU UHTXLUHPHQWV RI WKH 86 6HFXULWLHV DQG ([FKDQJH &RPPLVVLRQ DQ\
         QDWLRQDO RU UHJLRQDO VHFXULWLHV H[FKDQJH RU TXRWDWLRQ V\VWHP XSRQ ZKLFK VXFK 6KDUHV DUH
         OLVWHG DQG DQ\ DSSOLFDEOH IHGHUDO VWDWH ORFDO DQG IRUHLJQ ODZV DQG WKH &RPPLWWHH PD\
         FDXVH D OHJHQG RU OHJHQGV HOHFWURQLF RU RWKHUZLVH WR EH SXW RQ DQ\ VXFK FHUWLILFDWHV DQGRU
         ERRNHQWU\ QRWDWLRQ WR PDNH DSSURSULDWH UHIHUHQFH WR VXFK UHVWULFWLRQV

       6XFFHVVRUV DQG $VVLJQV 7KH &RPSDQ\ PD\ DVVLJQ DQ\ RI LWV ULJKWV XQGHU WKLV $JUHHPHQW
         7KLV $JUHHPHQW VKDOO EH ELQGLQJ XSRQ DQG LQXUH WR WKH EHQHILW RI WKH VXFFHVVRUV DQG DVVLJQV
         RI WKH &RPSDQ\ 6XEMHFW WR WKH UHVWULFWLRQV RQ WUDQVIHU VHW IRUWK KHUHLQ WKLV $JUHHPHQW
         ZLOO EH ELQGLQJ XSRQ WKH 3DUWLFLSDQW DQG WKH 3DUWLFLSDQW¶V KHLUV H[HFXWRUV DGPLQLVWUDWRUV
         OHJDO UHSUHVHQWDWLYHV VXFFHVVRUV DQG DVVLJQV

       (QWLUH $JUHHPHQW 6HYHUDELOLW\ 7KH 3ODQ DQG WKH 1RWLFH DUH LQFRUSRUDWHG KHUHLQ E\
         UHIHUHQFH ([FHSW ZLWK UHVSHFW WR YHVWLQJ WHUPV VSHFLILFDOO\ SURYLGHG LQ WKH 3DUWLFLSDQW¶V
         LQGLYLGXDO HPSOR\PHQW VHYHUDQFH RU RWKHU DJUHHPHQW V ZLWK WKH &RPSDQ\ WKH 3ODQ WKH
         1RWLFH DQG WKLV $JUHHPHQW VXSHUVHGH LQ WKHLU HQWLUHW\ DOO SULRU XQGHUWDNLQJV DQG DJUHHPHQWV
         RI WKH &RPSDQ\ DQG WKH 3DUWLFLSDQW ZLWK UHVSHFW WR WKH VXEMHFW PDWWHU KHUHRI ,I DQ\
         SURYLVLRQ RI WKLV $JUHHPHQW LV GHWHUPLQHG E\ D FRXUW RI ODZ WR EH LOOHJDO RU XQHQIRUFHDEOH
         WKHQ VXFK SURYLVLRQ ZLOO EH HQIRUFHG WR WKH PD[LPXP H[WHQW SRVVLEOH DQG WKH RWKHU
         SURYLVLRQV ZLOO UHPDLQ IXOO\ HIIHFWLYH DQG HQIRUFHDEOH

       :DLYHU :DLYHU RI DQ\ WHUP RU FRQGLWLRQ RI WKLV $JUHHPHQW E\ DQ\ SDUW\ VKDOO QRW EH
         FRQVWUXHG DV D ZDLYHU RI D VXEVHTXHQW EUHDFK RU IDLOXUH RI WKH VDPH WHUP RU FRQGLWLRQ RU D
         ZDLYHU RI DQ\ RWKHU WHUP RU FRQGLWLRQ RI WKLV $JUHHPHQW $Q\ ZDLYHU PXVW EH LQ ZULWLQJ

      *RYHUQLQJ /DZ DQG 9HQXH 7KH YDOLGLW\ LQWHUSUHWDWLRQ LQVWUXFWLRQ SHUIRUPDQFH
         HQIRUFHPHQW DQG UHPHGLHV RI RU UHODWLQJ WR WKLV $JUHHPHQW DQG WKH ULJKWV DQG REOLJDWLRQV
         RI WKH SDUWLHV KHUHXQGHU VKDOO EH JRYHUQHG E\ DQG FRQVWUXHG LQ DFFRUGDQFH ZLWK WKH
         VXEVWDQWLYH ODZV RI WKH 6WDWH RI 'HODZDUH ZLWKRXW UHJDUG WR WKH FRQIOLFW RI ODZ SULQFLSOHV
         UXOHV RU VWDWXWHV RI DQ\ MXULVGLFWLRQ )RU WKH SXUSRVH RI OLWLJDWLQJ DQ\ GLVSXWH WKDW DULVHV
         XQGHU WKLV $JUHHPHQW WKH SDUWLHV KHUHE\ FRQVHQW WR WKH H[FOXVLYH MXULVGLFWLRQ DQG DJUHH
         WKDW VXFK OLWLJDWLRQ VKDOO EH FRQGXFWHG LQ WKH IHGHUDO RU VWDWH FRXUWV RI WKH 6WDWH RI ,OOLQRLV

      1RWLFHV $Q\ QRWLFH RU GRFXPHQW UHTXLUHG WR EH ILOHG ZLWK WKH &RPPLWWHH RU WKH &RPSDQ\
         XQGHU WKH 3ODQ PXVW EH LQ ZULWLQJ DQG ZLOO EH SURSHUO\ ILOHG LI GHOLYHUHG RU PDLOHG WR WKH
         &RPSDQ\¶V /HJDO 'HSDUWPHQW LQ WKH &RPSDQ\¶V SULQFLSDO H[HFXWLYH RIILFHV ,I LQWHQGHG
         IRU WKH 3DUWLFLSDQW QRWLFHV VKDOO EH GHOLYHUHG SHUVRQDOO\ RU VKDOO EH DGGUHVVHG LI VHQW E\


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         PDLO WR WKH 3DUWLFLSDQW¶V WKHQ FXUUHQW UHVLGHQFH DGGUHVV DV VKRZQ RQ WKH &RPSDQ\¶V
         UHFRUGV RU WR VXFK RWKHU DGGUHVV DV WKH 3DUWLFLSDQW GLUHFWV LQ D QRWLFH WR WKH &RPSDQ\ RU
         VKDOO EH GHOLYHUHG HOHFWURQLFDOO\ WR WKH 3DUWLFLSDQW¶V HPDLO DGGUHVV DV VKRZQ RQ WKH
         &RPSDQ\¶V UHFRUGV $OO QRWLFHV VKDOO EH GHHPHG WR EH JLYHQ RQ WKH GDWH UHFHLYHG DW WKH
         DGGUHVV RI WKH DGGUHVVHH RU LI GHOLYHUHG SHUVRQDOO\ RU HOHFWURQLFDOO\ RQ WKH GDWH GHOLYHUHG
         7KH &RPSDQ\ PD\ LQ LWV VROH GLVFUHWLRQ GHFLGH WR GHOLYHU DQ\ GRFXPHQWV UHODWHG WR FXUUHQW
         RU IXWXUH SDUWLFLSDWLRQ LQ WKH 3ODQ WKURXJK DQ RQOLQH RU HOHFWURQLF V\VWHP HVWDEOLVKHG DQG
         PDLQWDLQHG E\ WKH &RPSDQ\ RU LWV GHVLJQHH 7KH &RPSDQ\ PD\ E\ ZULWWHQ QRWLFH WR
         DIIHFWHG SHUVRQV UHYLVH LWV QRWLFH SURFHGXUHV IURP WLPH WR WLPH $Q\ QRWLFH UHTXLUHG XQGHU
         WKH 3ODQ RWKHU WKDQ D QRWLFH RI HOHFWLRQ PD\ EH ZDLYHG LQ ZULWLQJ E\ WKH SHUVRQ HQWLWOHG
         WR QRWLFH

      1HHG WR $FFHSW $ZDUG 7KH 3DUWLFLSDQW DFNQRZOHGJHV WKDW WKH 1RWLFH DQG WKLV $JUHHPHQW
         PXVW EH DFFHSWHG ZLWKLQ  GD\V RI WKH *UDQW 'DWH LQ RUGHU WR EH HOLJLEOH WR UHFHLYH DQ\
         EHQHILWV IURP WKLV $ZDUG XQOHVV RWKHUZLVH GHWHUPLQHG E\ WKH &RPSDQ\ LQ LWV GLVFUHWLRQ
         ,I WKLV $ZDUG LV QRW DFFHSWHG ZLWKLQ WKDW WLPH SHULRG WKH $ZDUG PD\ EH FDQFHOOHG DQG DOO
         EHQHILWV XQGHU WKLV $ZDUG ZLOO EH IRUIHLWHG 7R DFFHSW WKLV $ZDUG WKH 3DUWLFLSDQW PXVW
         DFFHVV WKH )LGHOLW\ ZHEVLWH DQG IROORZ WKH LQVWUXFWLRQV IRU DFFHSWDQFH ,I WKLV JUDQW ZDV
         GLVWULEXWHG WR WKH 3DUWLFLSDQW LQ KDUG FRS\ IRUPDW WKH 3DUWLFLSDQW PXVW VLJQ WKH DJUHHPHQW
         DQG UHWXUQ LW WR WKH &RPSDQ\¶V &RPSHQVDWLRQ 'HSDUWPHQW ZLWKLQ  GD\V

%\ WKH 3DUWLFLSDQW¶V VLJQDWXUH DQG WKH VLJQDWXUH RI WKH &RPSDQ\¶V UHSUHVHQWDWLYH EHORZ DQG RQ WKH
1RWLFH WKH 3DUWLFLSDQW DQG WKH &RPSDQ\ DJUHH WKDW WKLV $ZDUG RI 568V LV JUDQWHG XQGHU DQG
JRYHUQHG E\ WKH WHUPV DQG FRQGLWLRQV RI WKH 3ODQ WKH 1RWLFH DQG WKLV $JUHHPHQW 7KH 3DUWLFLSDQW
KDV UHYLHZHG WKH 3ODQ WKH 1RWLFH DQG WKLV $JUHHPHQW LQ WKHLU HQWLUHW\ KDV KDG DQ RSSRUWXQLW\ WR
REWDLQ WKH DGYLFH RI FRXQVHO SULRU WR H[HFXWLQJ WKLV $JUHHPHQW DQG IXOO\ XQGHUVWDQGV DOO SURYLVLRQV
RI WKH 3ODQ WKH 1RWLFH DQG WKLV $JUHHPHQW 7KH 3DUWLFLSDQW KHUHE\ DJUHHV WR DFFHSW DV ELQGLQJ
FRQFOXVLYH DQG ILQDO DOO GHFLVLRQV RU LQWHUSUHWDWLRQV RI WKH &RPPLWWHH XSRQ DQ\ TXHVWLRQV UHODWLQJ
WR WKH 3ODQ WKH 1RWLFH DQG WKLV $JUHHPHQW 7KH 3DUWLFLSDQW IXUWKHU DJUHHV WR QRWLI\ WKH &RPSDQ\
XSRQ DQ\ FKDQJH LQ WKH 3DUWLFLSDQW¶V UHVLGHQFH DGGUHVV RU SHUVRQDO HPDLO DGGUHVV

 3$57,&,3$17

 Signed Electronically

 05/03/2021




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                            81'(5 7+(
          *528321 ,1&  ,1&(17,9( 3/$1 $6 $0(1'('


General

3OHDVH QRWH WKDW WKH 568V DUH QRW SDUW RI 3DUWLFLSDQW¶V HPSOR\PHQW UHODWLRQVKLS ZLWK 3DUWLFLSDQW¶V
HPSOR\HU DQG DUH FRPSOHWHO\ VHSDUDWH IURP 3DUWLFLSDQW¶V VDODU\ RU DQ\ RWKHU FRPSHQVDWLRQ RU
EHQHILWV SURYLGHG WR 3DUWLFLSDQW E\ 3DUWLFLSDQW¶V HPSOR\HU 7KLV PHDQV WKDW DQ\ JDLQ 3DUWLFLSDQW
UHDOL]HV IURP WKH 568V ZLOO QRW EH LQFOXGHG LI RU ZKHQ DQ\ EHQHILWV WKDW 3DUWLFLSDQW PD\ UHFHLYH
IURP 3DUWLFLSDQW¶V HPSOR\HU DUH FDOFXODWHG LQFOXGLQJ EXW QRW OLPLWHG WR ERQXVHV VHYHUDQFH
SD\PHQWV RU VLPLODU WHUPLQDWLRQ FRPSHQVDWLRQ RU LQGHPQLW\ SD\PHQWV GXULQJ D QRWLFH SHULRG RU
SD\PHQWV LQ OLHX RI QRWLFH

Terms and Conditions

7KLV $SSHQGL[ LQFOXGHV DGGLWLRQDO WHUPV DQG FRQGLWLRQV WKDW JRYHUQ WKH 568V JUDQWHG WR
3DUWLFLSDQW XQGHU WKH 3ODQ LI 3DUWLFLSDQW UHVLGHV LQ RQH RI WKH FRXQWULHV OLVWHG EHORZ &DSLWDOL]HG
WHUPV XVHG EXW QRW GHILQHG LQ WKLV $SSHQGL[ KDYH WKH PHDQLQJV VHW IRUWK LQ WKH 3ODQ WKH 1RWLFH
DQGRU WKH $JUHHPHQW

Notifications

7KLV $SSHQGL[ DOVR LQFOXGHV QRWLILFDWLRQV UHODWLQJ WR H[FKDQJH FRQWURO DQG RWKHU LVVXHV RI ZKLFK
3DUWLFLSDQW VKRXOG EH DZDUH ZLWK UHVSHFW WR 3DUWLFLSDQW¶V SDUWLFLSDWLRQ LQ WKH 3ODQ 7KH LQIRUPDWLRQ
LV EDVHG RQ WKH H[FKDQJH FRQWURO VHFXULWLHV DQG RWKHU ODZV LQ HIIHFW LQ WKH UHVSHFWLYH FRXQWULHV DV
RI -DQXDU\  6XFK ODZV DUH RIWHQ FRPSOH[ DQG FKDQJH IUHTXHQWO\ $V D UHVXOW WKH &RPSDQ\
VWURQJO\ UHFRPPHQGV WKDW 3DUWLFLSDQW QRW UHO\ RQ WKH LQIRUPDWLRQ QRWHG KHUHLQ DV WKH RQO\ VRXUFH
RI LQIRUPDWLRQ UHODWLQJ WR WKH FRQVHTXHQFHV RI 3DUWLFLSDQW¶V SDUWLFLSDWLRQ LQ WKH 3ODQ EHFDXVH WKH
LQIRUPDWLRQ PD\ EH RXW RI GDWH DW WKH WLPH 3DUWLFLSDQW YHVWV LQ WKH 568V DFTXLUHV 6KDUHV RU VHOOV
6KDUHV DFTXLUHG XQGHU WKH 3ODQ

,Q DGGLWLRQ WKH LQIRUPDWLRQ LV JHQHUDO LQ QDWXUH DQG PD\ QRW DSSO\ WR 3DUWLFLSDQW¶V SDUWLFXODU
VLWXDWLRQ DQG WKH &RPSDQ\ LV QRW LQ D SRVLWLRQ WR DVVXUH 3DUWLFLSDQW RI DQ\ SDUWLFXODU UHVXOW
$FFRUGLQJO\ 3DUWLFLSDQW LV VWURQJO\ DGYLVHG WR VHHN DSSURSULDWH SURIHVVLRQDO DGYLFH DV WR KRZ WKH
UHOHYDQW ODZV LQ WKH 3DUWLFLSDQW¶V FRXQWU\ DSSO\ WR 3DUWLFLSDQW¶V VSHFLILF VLWXDWLRQ

,I 3DUWLFLSDQW LV D FLWL]HQ RU UHVLGHQW RI D FRXQWU\ RWKHU WKDQ WKH RQH LQ ZKLFK 3DUWLFLSDQW LV FXUUHQWO\
ZRUNLQJ WUDQVIHUV HPSOR\PHQW DIWHU WKH 568V DUH JUDQWHG RU LV FRQVLGHUHG D UHVLGHQW RI DQRWKHU
FRXQWU\ IRU ORFDO ODZ SXUSRVHV WKH QRWLILFDWLRQV FRQWDLQHG LQ WKLV $SSHQGL[ $ PD\ QRW EH
DSSOLFDEOH WR 3DUWLFLSDQW DQG WKH &RPSDQ\ VKDOO LQ LWV VROH GLVFUHWLRQ GHWHUPLQH WR ZKDW H[WHQW
WKH WHUPV DQG FRQGLWLRQV FRQWDLQHG KHUHLQ VKDOO EH DSSOLFDEOH WR 3DUWLFLSDQW




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                                          $8675$/,$

Terms and Conditions

$XVWUDOLDQ $GGHQGXP DQG 2IIHU 'RFXPHQW 3DUWLFLSDQW¶V ULJKW WR SDUWLFLSDWH LQ WKH 3ODQ DQG
WKH 568V JUDQWHG XQGHU WKH 3ODQ DUH VXEMHFW WR WKH WHUPV DQG FRQGLWLRQV VWDWHG LQ WKH $XVWUDOLDQ
$GGHQGXP WKH RIIHU GRFXPHQW WKH 3ODQ WKH 1RWLFH WKH $JUHHPHQW DQG WKLV $SSHQGL[ $

Notifications

6HFXULWLHV /DZ 1RWLILFDWLRQ ,I 3DUWLFLSDQW DFTXLUHV 6KDUHV XQGHU WKH 3ODQ DQG VXEVHTXHQWO\
RIIHUV WKH 6KDUHV IRU VDOH WR D SHUVRQ RU HQWLW\ UHVLGHQW LQ $XVWUDOLD VXFK DQ RIIHU PD\ EH VXEMHFW
WR GLVFORVXUH UHTXLUHPHQWV XQGHU $XVWUDOLDQ ODZ DQG 3DUWLFLSDQW VKRXOG REWDLQ OHJDO DGYLFH
UHJDUGLQJ DQ\ DSSOLFDEOH GLVFORVXUH UHTXLUHPHQWV SULRU WR PDNLQJ DQ\ VXFK RIIHU

7D[DWLRQ 3DUWLFLSDQW XQGHUVWDQGV WKDW WKH 568V VKRXOG VDWLVI\ WKH UHDO ULVN RI IRUIHLWXUH WHVW IRU
GHIHUUDO FRQFHVVLRQV DV VHW IRUWK LQ WKH (PSOR\HH 6KDUH 6FKHPH OHJLVODWLRQ HIIHFWLYH -XO\  
EHFDXVH 3DUWLFLSDQW ZLOO IRUIHLW WKH $ZDUG LI FHUWDLQ FRQGLWLRQV DUH QRW PHW i.e. 3DUWLFLSDQW PXVW
UHPDLQ FRQWLQXRXVO\ HPSOR\HG XQWLO WKH DZDUG YHVWV  DQG DFFRUGLQJO\ 3DUWLFLSDQW ZLOO EH VXEMHFW
WR GHIHUUHG WD[DWLRQ DQG VKRXOG JHQHUDOO\ QRW EH VXEMHFW WR WD[ ZKHQ WKH $ZDUG LV JUDQWHG
)XUWKHUPRUH 3DUWLFLSDQW DFNQRZOHGJHV WKDW 3DUWLFLSDQW GRHV QRW KROG D EHQHILFLDO LQWHUHVW LQ PRUH
WKDQ  RI *URXSRQ ,QF¶V FRPPRQ VWRFN DQG 3DUWLFLSDQW LV QRW LQ D SRVLWLRQ WR FDVW RU WR FRQWURO
WKH FDVWLQJ RI PRUH WKDQ  RI WKH PD[LPXP QXPEHU RI YRWHV WKDW PLJKW EH FDVW DW D JHQHUDO
PHHWLQJ RI *URXSRQ ,QF

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Notifications

7D[ 5HSRUWLQJ 1RWLILFDWLRQ ,I 3DUWLFLSDQW LV D %HOJLDQ UHVLGHQW KH RU VKH LV UHTXLUHG WR UHSRUW
DQ\ EDQN RU EURNHUDJH DFFRXQWV KHOG RXWVLGH RI %HOJLXP RQ WKH DQQXDO WD[ UHWXUQ LQFOXGLQJ DQ\
DFFRXQW LQ ZKLFK 6KDUHV RU SURFHHGV IURP WKH VDOH RI 6KDUHV LV KHOG ,Q DGGLWLRQ 3DUWLFLSDQW LV
UHTXLUHG WR UHSRUW DQ\ WD[DEOH LQFRPH DWWULEXWDEOH WR WKH JUDQW RI 568V RQ WKH DQQXDO WD[ UHWXUQ

6WRFN ([FKDQJH 7D[ (IIHFWLYH -DQXDU\   D VWRFN H[FKDQJH WD[ DSSOLHV WR WUDQVDFWLRQV
H[HFXWHG WKURXJK D QRQ%HOJLDQ ILQDQFLDO LQWHUPHGLDU\ 7KH VWRFN H[FKDQJH WD[ ZLOO OLNHO\ DSSO\
ZKHQ 6KDUHV DUH VROG 3DUWLFLSDQW VKRXOG FRQVXOW KLVKHU SHUVRQDO WD[ DGYLVRU WR GHWHUPLQH KLVKHU
REOLJDWLRQV ZLWK UHVSHFW WR WKH VWRFN H[FKDQJH WD[

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Notifications

3OHDVH FRQVXOW WKH QRWLFH DGGUHVVLQJ WKH (8 *HQHUDO 'DWD 3URWHFWLRQ 5HJXODWLRQ *'35  ZKLFK
LV DWWDFKHG KHUHWR




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Notifications

([FKDQJH &RQWURO 1RWLILFDWLRQ &URVVERUGHU SD\PHQWV LQ H[FHVV RI ¼ PXVW EH UHSRUWHG
PRQWKO\ WR WKH *HUPDQ )HGHUDO %DQN ,I 3DUWLFLSDQW XVHV D *HUPDQ EDQN WR WUDQVIHU D FURVVERUGHU
SD\PHQW LQ H[FHVV RI ¼ LQ FRQQHFWLRQ ZLWK WKH VDOH RI 6KDUHV DFTXLUHG XQGHU WKH 3ODQ WKH
EDQN ZLOO PDNH WKH UHSRUW IRU 3DUWLFLSDQW ,Q DGGLWLRQ 3DUWLFLSDQW PXVW UHSRUW DQ\ UHFHLYDEOHV
SD\DEOHV RU GHEWV LQ IRUHLJQ FXUUHQF\ H[FHHGLQJ DQ DPRXQW RI ¼ LQ DQ\ PRQWK

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Notifications

([FKDQJH &RQWURO 1RWLILFDWLRQ 3DUWLFLSDQW XQGHUVWDQGV WKDW KH RU VKH PXVW UHSDWULDWH DQ\
SURFHHGV IURP WKH VDOH RI 6KDUHV DFTXLUHG XQGHU WKH 3ODQ WR ,QGLD DQG FRQYHUW WKH SURFHHGV LQWR
ORFDO FXUUHQF\ ZLWKLQ D UHDVRQDEOH WLPH IROORZLQJ WKH UHFHLSW LH QLQHW\  GD\V  3DUWLFLSDQW
ZLOO UHFHLYH D IRUHLJQ LQZDUG UHPLWWDQFH FHUWLILFDWH ³),5&´ IURP WKH EDQN ZKHUH WKH IRUHLJQ
FXUUHQF\ LV GHSRVLWHG 3DUWLFLSDQW VKRXOG PDLQWDLQ WKH ),5& DV HYLGHQFH RI WKH UHSDWULDWLRQ RI WKH
SURFHHGV LQ WKH HYHQW WKH 5HVHUYH %DQN RI ,QGLD RU WKH (PSOR\HU UHTXHVWV SURRI RI UHSDWULDWLRQ

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Notifications

,I 3DUWLFLSDQW LV D GLUHFWRU VKDGRZ GLUHFWRU RU VHFUHWDU\ RI DQ ,ULVK VXEVLGLDU\ RI *URXSRQ ,QF ZKR
RZQV PRUH WKDQ D  LQWHUHVW LQ *URXSRQ ,QF 3DUWLFLSDQW LV VXEMHFW WR FHUWDLQ QRWLILFDWLRQ
UHTXLUHPHQWV XQGHU WKH &RPSDQLHV $FW  $PRQJ WKHVH UHTXLUHPHQWV LV DQ REOLJDWLRQ WR QRWLI\
WKH VHFUHWDU\ RI WKH ,ULVK VXEVLGLDU\ LQ ZULWLQJ ZKHQ 3DUWLFLSDQW UHFHLYHV DQ LQWHUHVW e.g. 568V RU
6KDUHV LQ *URXSRQ ,QF DQG WKH QXPEHU DQG FODVV RI VKDUHV RU ULJKWV WR ZKLFK WKH LQWHUHVW UHODWHV
,Q DGGLWLRQ 3DUWLFLSDQW PXVW QRWLI\ WKH ,ULVK VXEVLGLDU\ ZKHQ 3DUWLFLSDQW VHOOV 6KDUHV DFTXLUHG
SXUVXDQW WR DQ\ $ZDUG JUDQWHG XQGHU WKH 3ODQ 3DUWLFLSDQW PXVW QRWLI\ WKH VHFUHWDU\ RI WKH ,ULVK
VXEVLGLDU\ RI WKH DFTXLVLWLRQ RU GLVSRVDO RI DQ LQWHUHVW LQ 6KDUHV ZLWKLQ ILYH GD\V IROORZLQJ WKH GD\
RI DFTXLVLWLRQ RU GLVSRVDO RI WKH LQWHUHVW LQ 6KDUHV 7KHVH QRWLILFDWLRQ UHTXLUHPHQWV DOVR DSSO\ WR
DQ\ ULJKWV RU VKDUHV DFTXLUHG E\ 3DUWLFLSDQW¶V VSRXVH RU FKLOGUHQ XQGHU WKH DJH RI 

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Notifications

([FKDQJH &RQWURO 1RWLILFDWLRQ 3DUWLFLSDQW LV UHTXLUHG WR UHSRUW RQ WKH 5: )RUP RI KLVKHU
DQQXDO WD[ UHWXUQ L DQ\ WUDQVIHUV RI FDVK RU 6KDUHV WR RU IURP ,WDO\ DQG LL DQ\ IRUHLJQ LQYHVWPHQWV
RU LQYHVWPHQWV KHOG RXWVLGH RI ,WDO\ LQFOXGLQJ SURFHHGV IURP WKH VDOH RI &RPSDQ\ 6KDUHV DFTXLUHG
XSRQ WKH YHVWLQJ RI 568V  LI WKH LQYHVWPHQW PD\ JLYH ULVH WR LQFRPH LQ ,WDO\ 7KH IRUHLJQ
LQYHVWPHQWV RU LQYHVWPHQWV KHOG RXWVLGH RI ,WDO\ DUH DOVR VXEMHFW WR D  WD[ RQ DVVHWV KHOG DEURDG
 ,9$)(  ZKLFK LV GXH DQQXDOO\ RQ WKH IDLU PDUNHW YDOXH RI WKH DVVHWV DW WKH HQG RI HDFK FDOHQGDU
\HDU WKDW 3DUWLFLSDQW KROGV WKH 6KDUHV i.e. 'HFHPEHU  DQG LV VXEMHFW WR SURUDWLRQ IRU WKH SRUWLRQ
RI WKH \HDU WKDW 3DUWLFLSDQW KROGV WKH &RPSDQ\ 6KDUHV UHFHLYHG DW YHVWLQJ


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Notifications

6HFXULWLHV 5HSRUW ,I 3DUWLFLSDQW DFTXLUHV 6KDUHV YDOXHG DW PRUH WKDQ  LQ D VLQJOH
WUDQVDFWLRQ 3DUWLFLSDQW PXVW ILOH D 6HFXULWLHV $FTXLVLWLRQ 5HSRUW ZLWK WKH 0LQLVWU\ RI )LQDQFH
WKURXJK WKH %DQN RI -DSDQ ZLWKLQ  GD\V RI WKH DFTXLVLWLRQ RI WKH 6KDUHV XQOHVV D -DSDQHVH
VHFXULWLHV EURNHU RU D -DSDQHVH EUDQFK RI D QRQ-DSDQHVH VHFXULWLHV EURNHU LV LQYROYHG LQ WKH
DFTXLVLWLRQ RI WKH 6KDUHV

                                        1(7+(5/$1'6

Notifications

,QVLGHU 7UDGLQJ 1RWLILFDWLRQ 3DUWLFLSDQW VKRXOG EH DZDUH RI WKH 'XWFK LQVLGHUWUDGLQJ UXOHV
ZKLFK PD\ LPSDFW WKH VDOH RI 6KDUHV DFTXLUHG XSRQ YHVWLQJ RI WKH 568V ,Q SDUWLFXODU 3DUWLFLSDQW
PD\ EH SURKLELWHG IURP HIIHFWXDWLQJ FHUWDLQ WUDQVDFWLRQV LQYROYLQJ 6KDUHV LI 3DUWLFLSDQW KDV LQVLGH
LQIRUPDWLRQ DERXW *URXSRQ ,QF ,I 3DUWLFLSDQW LV XQFHUWDLQ ZKHWKHU WKH LQVLGHUWUDGLQJ UXOHV DSSO\
WR 3DUWLFLSDQW 3DUWLFLSDQW VKRXOG FRQVXOW KLVKHU SHUVRQDO OHJDO DGYLVRU %\ SDUWLFLSDWLQJ LQ WKH
3ODQ 3DUWLFLSDQW DFNQRZOHGJHV KDYLQJ UHDG DQG XQGHUVWRRG WKLV QRWLILFDWLRQ DQG DFNQRZOHGJHV
WKDW LW LV 3DUWLFLSDQW¶V UHVSRQVLELOLW\ WR FRPSO\ ZLWK WKH 'XWFK LQVLGHUWUDGLQJ UXOHV

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Notifications

3DUWLFLSDQW LV EHLQJ RIIHUHG DQ RSSRUWXQLW\ WR SDUWLFLSDWH LQ WKH 3ODQ ,Q FRPSOLDQFH ZLWK DQ
H[HPSWLRQ WR WKH 1HZ =HDODQG )LQDQFLDO 0DUNHWV &RQGXFW $FW  3DUWLFLSDQW LV KHUHE\ QRWLILHG
WKDW 3DUWLFLSDQW KDV WKH ULJKW WR UHFHLYH IUHH RI FKDUJH D FRS\ RI *URXSRQ ,QF¶V ODWHVW DQQXDO
UHSRUW DQG D FRS\ RI WKH UHOHYDQW ILQDQFLDO VWDWHPHQWV RI *URXSRQ ,QF 6XFK GRFXPHQWV DUH
DYDLODEOH IRU 3DUWLFLSDQW¶V UHYLHZ RQ *URXSRQ ,QF¶V H[WHUQDO DQGRU LQWHUQDO VLWHV DW WKH ZHE
DGGUHVVHV OLVWHG EHORZ ,Q DGGLWLRQ LQ FRQQHFWLRQ ZLWK WKH RSSRUWXQLW\ WR SDUWLFLSDWH LQ WKH 3ODQ
3DUWLFLSDQW LV EHLQJ SURYLGHG ZLWK D FRS\ RI WKH 3ODQ DZDUG DJUHHPHQW DQG WKH 3ODQ SURVSHFWXV
YLD WKH QHWEHQHILWVFRP SRUWDO

                      7KH &RPSDQ\¶V PRVW UHFHQW DQQXDO UHSRUW

         KWWSVLQYHVWRUJURXSRQFRPILQDQFLDOVDQQXDOUHSRUWVDQGSUR[\VWDWHPHQWVGHIDXOWDVS[

                      7KH &RPSDQ\¶V PRVW UHFHQWO\ SXEOLVKHG ILQDQFLDO VWDWHPHQWV

                        KWWSVLQYHVWRUJURXSRQFRPILQDQFLDOVVHFILOLQJVGHIDXOWDVS[

:DUQLQJ

7KLV LV DQ RIIHU RI RSWLRQV RU 568V ,I WKH RSWLRQV DUH H[HUFLVHG RU WKH 568V YHVW DQG 3DUWLFLSDQW
UHFHLYHV VKDUHV LQ *URXSRQ ,QF WKH VKDUHV ZLOO JLYH 3DUWLFLSDQW D VWDNH LQ WKH RZQHUVKLS RI
*URXSRQ ,QF 3DUWLFLSDQW PD\ UHFHLYH D UHWXUQ LI GLYLGHQGV DUH SDLG


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,I *URXSRQ ,QF UXQV LQWR ILQDQFLDO GLIILFXOWLHV DQG LV ZRXQG XS 3DUWLFLSDQW ZLOO EH SDLG RQO\
DIWHU DOO FUHGLWRUV KDYH EHHQ SDLG 3DUWLFLSDQW PD\ ORVH VRPH RU DOO RI 3DUWLFLSDQW¶V LQYHVWPHQW

1HZ =HDODQG ODZ QRUPDOO\ UHTXLUHV SHRSOH ZKR RIIHU ILQDQFLDO SURGXFWV WR JLYH LQIRUPDWLRQ WR
LQYHVWRUV EHIRUH WKH\ LQYHVW 7KLV LQIRUPDWLRQ LV GHVLJQHG WR KHOS LQYHVWRUV WR PDNH DQ LQIRUPHG
GHFLVLRQ

7KH XVXDO UXOHV GR QRW DSSO\ WR WKLV RIIHU EHFDXVH LW LV PDGH XQGHU DQ HPSOR\HH VKDUH VFKHPH $V
D UHVXOW 3DUWLFLSDQW PD\ QRW EH JLYHQ DOO WKH LQIRUPDWLRQ XVXDOO\ UHTXLUHG 3DUWLFLSDQW ZLOO DOVR
KDYH IHZHU RWKHU OHJDO SURWHFWLRQV IRU WKLV LQYHVWPHQW

3DUWLFLSDQW VKRXOG DVN TXHVWLRQV UHDG DOO GRFXPHQWV FDUHIXOO\ DQG VHHN LQGHSHQGHQW ILQDQFLDO
DGYLFH EHIRUH FRPPLWWLQJ

*URXSRQ ,QF¶V VKDUHV DUH OLVWHG RQ WKH 1DVGDT *OREDO 0DUNHW 7KLV PHDQV 3DUWLFLSDQW PD\ EH
DEOH WR VHOO *URXSRQ ,QF¶V VKDUHV LI UHFHLYHG ZLWK UHVSHFW WR WKH RSWLRQV RU 568V RQ WKH
1DVGDT *OREDO 0DUNHW LI WKHUH DUH LQWHUHVWHG EX\HUV 3DUWLFLSDQW PD\ JHW OHVV WKDQ 3DUWLFLSDQW
LQYHVWHG 7KH SULFH ZLOO GHSHQG RQ WKH GHPDQG IRU *URXSRQ ,QF¶V VKDUHV


                                            32/$1'

Notifications

([FKDQJH &RQWURO 1RWLILFDWLRQV ,I 3DUWLFLSDQW WUDQVIHUV IXQGV LQ H[FHVV RI ¼ LQWR 3RODQG
LQ FRQQHFWLRQ ZLWK WKH VDOH RI 6KDUHV DFTXLUHG XQGHU WKH 3ODQ WKH IXQGV PXVW EH WUDQVIHUUHG YLD D
EDQN DFFRXQW 3DUWLFLSDQW LV UHTXLUHG WR UHWDLQ WKH GRFXPHQWV FRQQHFWHG ZLWK D IRUHLJQ H[FKDQJH
WUDQVDFWLRQ IRU D SHULRG RI ILYH  \HDUV DV PHDVXUHG IURP WKH HQG RI WKH \HDU LQ ZKLFK VXFK
WUDQVDFWLRQ RFFXUUHG

:KLOH 3DUWLFLSDQW LV UHVSRQVLEOH IRU DQ\ H[FKDQJH FRQWURO ILOLQJV QR DGYDQFH IRUHLJQ H[FKDQJH
SHUPLW LV UHTXLUHG IRU WKH DFTXLVLWLRQ KROGLQJ RU GLVSRVDO RI 6KDUHV +RZHYHU LI WKH YDOXH RI
3DUWLFLSDQW¶V 6KDUHV H[FHHGV WKH HTXLYDOHQW RI 3/1  3DUWLFLSDQW ZLOO KDYH WR QRWLI\ WKH
1DWLRQDO %DQN RI 3RODQG RI VXFK KROGLQJV RQ D TXDUWHUO\ EDVLV ,I VXFK UHSRUWLQJ REOLJDWLRQ DSSOLHV
WR 3DUWLFLSDQW DQG 3DUWLFLSDQW¶V VKDUHKROGLQJ H[FHHGV  RI WKH &RPSDQ\¶V WRWDO YRWLQJ VWRFN
3DUWLFLSDQW ZLOO DOVR EH UHTXLUHG WR QRWLI\ WKH 1DWLRQDO %DQN RI 3RODQG E\ WKH HQG RI 0D\ RI HDFK
VXEVHTXHQW \HDU

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Terms and Conditions

1DWXUH RI *UDQW 3DUWLFLSDQW XQGHUVWDQGV WKDW WKH &RPSDQ\ KDV XQLODWHUDOO\ JUDWXLWRXVO\ DQG LQ
LWV VROH GLVFUHWLRQ GHFLGHG WR JUDQW 568V WR LQGLYLGXDOV ZKR PD\ EH 3DUWLFLSDQWV RI WKH &RPSDQ\
RU D 6XEVLGLDU\ WKURXJKRXW WKH ZRUOG 7KH GHFLVLRQ LV OLPLWHG DQG HQWHUHG LQWR EDVHG XSRQ WKH
H[SUHVV DVVXPSWLRQ DQG FRQGLWLRQ WKDW DQ\ JUDQW ZLOO QRW ELQG WKH &RPSDQ\ RU D 6XEVLGLDU\ RWKHU


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WKDQ DV H[SUHVVO\ VHW IRUWK LQ WKH $JUHHPHQW &RQVHTXHQWO\ 3DUWLFLSDQW XQGHUVWDQGV WKDW WKH 568V
DUH JUDQWHG RQ WKH DVVXPSWLRQ DQG FRQGLWLRQ WKDW WKH 568V DQG DQ\ 6KDUHV DFTXLUHG XSRQ
VHWWOHPHQW RI WKH 568V DUH QRW SDUW RI DQ\ HPSOR\PHQW FRQWUDFW ZKHWKHU ZLWK WKH &RPSDQ\ RU D
6XEVLGLDU\ DQG VKDOO QRW EH FRQVLGHUHG D PDQGDWRU\ EHQHILW VDODU\ IRU DQ\ SXUSRVH LQFOXGLQJ
VHYHUDQFH FRPSHQVDWLRQ  RU DQ\ RWKHU ULJKW ZKDWVRHYHU

3DUWLFLSDQW XQGHUVWDQGV DQG DJUHHV WKDW DV D FRQGLWLRQ RI WKH JUDQW RI WKH 568V H[FHSW DV SURYLGHG
IRU LQ WHUPLQDWLRQ VHFWLRQ RI WKH 1RWLFH 3DUWLFLSDQW¶V WHUPLQDWLRQ RI HPSOR\PHQW IRU DQ\ UHDVRQ
 LQFOXGLQJ IRU WKH UHDVRQV OLVWHG EHORZ ZLOO DXWRPDWLFDOO\ UHVXOW LQ WKH FDQFHOODWLRQ DQG ORVV RI DQ\
568V WKDW PD\ KDYH EHHQ JUDQWHG WR 3DUWLFLSDQW DQG WKDW ZHUH QRW IXOO\ YHVWHG RQ WKH GDWH RI
WHUPLQDWLRQ

8QOHVV RWKHUZLVH VHW IRUWK LQ WKH 3ODQ RU DSSOLFDEOH DZDUG DJUHHPHQW 3DUWLFLSDQW XQGHUVWDQGV DQG
DJUHHV WKDW WKH 568V ZLOO EH FDQFHOOHG ZLWKRXW HQWLWOHPHQW WR WKH 6KDUHV RU WR DQ\ DPRXQW DV
LQGHPQLILFDWLRQ LI 3DUWLFLSDQW WHUPLQDWHV HPSOR\PHQW E\ UHDVRQ RI LQFOXGLQJ EXW QRW OLPLWHG WR
UHVLJQDWLRQ GHDWK GLVDELOLW\ UHWLUHPHQW GLVFLSOLQDU\ GLVPLVVDO DGMXGJHG WR EH ZLWK FDXVH
GLVFLSOLQDU\ GLVPLVVDO DGMXGJHG RU UHFRJQL]HG WR EH ZLWKRXW FDXVH LQGLYLGXDO RU FROOHFWLYH OD\RII
RQ REMHFWLYH JURXQGV ZKHWKHU DGMXGJHG WR EH ZLWK FDXVH RU DGMXGJHG RU UHFRJQL]HG WR EH ZLWKRXW
FDXVH PDWHULDO PRGLILFDWLRQ RI WKH WHUPV RI HPSOR\PHQW XQGHU $UWLFOH  RI WKH :RUNHUV¶ 6WDWXWH
UHORFDWLRQ XQGHU $UWLFOH  RI WKH :RUNHUV¶ 6WDWXWH $UWLFOH  RI WKH :RUNHUV¶ 6WDWXWH XQLODWHUDO
ZLWKGUDZDO E\ WKH (PSOR\HU DQG XQGHU $UWLFOH  RI 5R\DO 'HFUHH 

Notifications

6HFXULWLHV /DZ 1RWLILFDWLRQ 7KH 568V GHVFULEHG LQ WKH $JUHHPHQW DQG WKLV $SSHQGL[ $ GR QRW
TXDOLI\ XQGHU 6SDQLVK UHJXODWLRQV DV VHFXULWLHV 1R ³RIIHU RI VHFXULWLHV WR WKH SXEOLF´ DV GHILQHG
XQGHU 6SDQLVK ODZ KDV WDNHQ SODFH RU ZLOO WDNH SODFH LQ WKH 6SDQLVK WHUULWRU\ 7KH $JUHHPHQW
 LQFOXGLQJ WKLV $SSHQGL[ $ KDV QRW EHHQ QRU ZLOO LW EH UHJLVWHUHG ZLWK WKH Comisión Nacional del
Mercado de Valores DQG GRHV QRW FRQVWLWXWH D SXEOLF RIIHULQJ SURVSHFWXV

)RUHLJQ $VVHW DQG $FFRXQW 5HSRUWLQJ 7R WKH H[WHQW WKDW 6SDQLVK UHVLGHQWV KROG ULJKWV RU DVVHWV
 e.g. 6KDUHV FDVK HWF LQ D EDQN RU EURNHUDJH DFFRXQW RXWVLGH RI 6SDLQ ZLWK D YDOXH LQ H[FHVV RI
¼ SHU W\SH RI ULJKW RU DVVHW DV RI 'HFHPEHU  HDFK \HDU VXFK UHVLGHQWV DUH UHTXLUHG WR
UHSRUW LQIRUPDWLRQ RQ VXFK ULJKWV DQG DVVHWV RQ WKHLU WD[ UHWXUQ IRU VXFK \HDU 6KDUHV FRQVWLWXWH
VHFXULWLHV IRU SXUSRVHV RI WKLV UHTXLUHPHQW EXW XQYHVWHG ULJKWV e.g. 568V DUH QRW FRQVLGHUHG
DVVHWV RU ULJKWV IRU SXUSRVHV RI WKLV UHTXLUHPHQW

,I DSSOLFDEOH 6SDQLVK UHVLGHQWV PXVW UHSRUW WKH DVVHWV RU ULJKWV RQ )RUP  E\ QR ODWHU WKDQ
$SULO  IROORZLQJ WKH HQG RI WKH UHOHYDQW \HDU $IWHU VXFK DVVHWV RU ULJKWV DUH LQLWLDOO\ UHSRUWHG
WKH UHSRUWLQJ REOLJDWLRQ ZLOO RQO\ DSSO\ IRU VXEVHTXHQW \HDUV LI WKH YDOXH RI DQ\
SUHYLRXVO\UHSRUWHG DVVHWV RU ULJKWV LQFUHDVHV E\ PRUH WKDQ ¼ )DLOXUH WR FRPSO\ ZLWK WKLV
UHSRUWLQJ UHTXLUHPHQW PD\ UHVXOW LQ SHQDOWLHV

6SDQLVK UHVLGHQWV DUH DOVR UHTXLUHG WR HOHFWURQLFDOO\ GHFODUH WR WKH %DQN RI 6SDLQ DQ\ VHFXULWLHV
DFFRXQWV LQFOXGLQJ EURNHUDJH DFFRXQWV KHOG DEURDG  DV ZHOO DV WKH VHFXULWLHV KHOG LQ VXFK
DFFRXQWV LI WKH YDOXH RI WKH WUDQVDFWLRQV IRU DOO VXFK DFFRXQWV GXULQJ WKH SULRU WD[ \HDU RU WKH




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EDODQFHV LQ VXFK DFFRXQWV DV RI 'HFHPEHU  RI WKH SULRU WD[ \HDU H[FHHGV ¼ 0RUH
IUHTXHQW UHSRUWLQJ LV UHTXLUHG LI VXFK WUDQVDFWLRQ YDOXH RU DFFRXQW EDODQFH H[FHHGV ¼

6SDQLVK UHVLGHQWV VKRXOG FRQVXOW ZLWK WKHLU SHUVRQDO WD[ DQG OHJDO DGYLVRUV WR HQVXUH FRPSOLDQFH
ZLWK WKHLU SHUVRQDO UHSRUWLQJ REOLJDWLRQV

([FKDQJH &RQWURO ,QIRUPDWLRQ $OO DFTXLVLWLRQV RI IRUHLJQ VKDUHV E\ 6SDQLVK UHVLGHQWV PXVW
FRPSO\ ZLWK H[FKDQJH FRQWURO UHJXODWLRQV LQ 6SDLQ %HFDXVH RI IRUHLJQ LQYHVWPHQW UHTXLUHPHQWV
WKH DFTXLVLWLRQ RI &RPSDQ\ VKDUHV XQGHU WKH 3ODQ PXVW EH GHFODUHG IRU VWDWLVWLFDO SXUSRVHV WR WKH
6SDQLVK 'LUHFFLRQ *HQHUDO GH 3ROLWLFD &RPHUFLDO \ GH ,QYHUVLRQHV ([WUDQMHUDV WKH ³'*3&,(´ 
,I 3DUWLFLSDQW DFTXLUHV WKH 6KDUHV WKURXJK WKH XVH RI D 6SDQLVK ILQDQFLDO LQVWLWXWLRQ WKDW LQVWLWXWLRQ
ZLOO DXWRPDWLFDOO\ PDNH WKH GHFODUDWLRQ WR WKH '*3&,( 2WKHUZLVH 3DUWLFLSDQW PXVW PDNH WKH
GHFODUDWLRQ E\ ILOLQJ D IRUP ZLWK WKH '*3&,(

,I 3DUWLFLSDQW LPSRUWV WKH 6KDUHV DFTXLUHG XQGHU WKH 3ODQ LQWR 6SDLQ 3DUWLFLSDQW PXVW GHFODUH WKH
LPSRUWDWLRQ RI WKH VKDUH FHUWLILFDWHV WR WKH '*3&,(

,Q DGGLWLRQ 3DUWLFLSDQW PXVW DOVR ILOH D GHFODUDWLRQ RI WKH RZQHUVKLS RI WKH 6KDUHV ZLWK WKH
'LUHFWRUDWH RI )RUHLJQ 7UDQVDFWLRQV HDFK -DQXDU\ ZKLOH WKH 6KDUHV DUH RZQHG 7KHVH ILOLQJV DUH
PDGH RQ VWDQGDUG IRUPV IXUQLVKHG E\ WKH 'LUHFWRUDWH RI )RUHLJQ 7UDQVDFWLRQV

:KHQ 3DUWLFLSDQW UHFHLYHV DQ\ IRUHLJQ FXUUHQF\ SD\PHQWV i.e. DV D UHVXOW RI WKH VDOH RI WKH 6KDUHV 
3DUWLFLSDQW PXVW LQIRUP WKH LQVWLWXWLRQ UHFHLYLQJ WKH SD\PHQW RI WKH EDVLV XSRQ ZKLFK VXFK
SD\PHQW LV PDGH DQG SURYLGH FHUWDLQ VSHFLILF LQIRUPDWLRQ e.g. QDPH DGGUHVV DQG ILVFDO
LGHQWLILFDWLRQ QXPEHU WKH QDPH DQG FRUSRUDWH GRPLFLOH RI WKH FRPSDQ\ WKH DPRXQW RI WKH
SD\PHQW WKH W\SH RI IRUHLJQ FXUUHQF\ UHFHLYHG WKH FRXQWU\ RI RULJLQ DQG WKH UHDVRQ IRU WKH
SD\PHQW 

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Notifications

7KH 568V DQG WKH 6KDUHV XQGHUO\LQJ WKH $ZDUGV KDYH QRW EHHQ UHYLHZHG E\ RU UHJLVWHUHG ZLWK WKH
(PLUDWHV 6HFXULWLHV DQG &RPPRGLWLHV $XWKRULW\ WKH 'XEDL )LQDQFLDO 6HUYLFHV $XWKRULW\ WKH
8$( &HQWUDO %DQN RU DQ\ RWKHU JRYHUQPHQWDO DXWKRULW\ LQ WKH 8QLWHG $UDE (PLUDWHV DQG KDYH
QRW EHHQ DXWKRUL]HG RU OLFHQVHG IRU RIIHULQJ PDUNHWLQJ RU VDOH LQ WKH 8QLWHG $UDE (PLUDWHV $V
VXFK WKH $ZDUGV DQG 6KDUHV XQGHUO\LQJ WKHP DUH QRW EHLQJ RIIHUHG RU VROG LQ WKH 8QLWHG $UDE
(PLUDWHV 7KLV RIIHULQJ LV EHLQJ PDGH LQ DQG DQ\ UHODWHG PDWHULDOV DUH VXEMHFW WR WKH ODZV
UHJXODWLRQV DQG UXOHV RI D MXULVGLFWLRQ RXWVLGH WKH 8QLWHG $UDE (PLUDWHV



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1R FRXQWU\ VSHFLILF WHUPV DQG FRQGLWLRQV DSSO\




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                       *'35 3ULYDF\ 1RWLFH IRU 3DUWLFLSDQWV LQ WKH (8

5( *URXSRQ ,QF  ,QFHQWLYH 3ODQ DV DPHQGHG WKH ³3ODQ´

'HDU 3DUWLFLSDQW

7KH (8 *HQHUDO 'DWD 3URWHFWLRQ 5HJXODWLRQ DOVR NQRZQ DV WKH ³*'35´ ZHQW LQWR IRUFH RQ
0D\   7KH *'35 UHTXLUHV WKDW *URXSRQ ,QF WKH ³&RPSDQ\´ SURYLGHV FHUWDLQ
LQIRUPDWLRQ DERXW KRZ WKH 3HUVRQDO 'DWD DV GHILQHG EHORZ LW XVHV WR (8EDVHG SDUWLFLSDQWV LQ
WKH 3ODQ WR ZKLFK WKDW 3HUVRQDO 'DWD UHODWHV 7KH SXUSRVH RI WKLV FRPPXQLFDWLRQ LV WR SURYLGH
SDUWLFLSDQWV ZLWK WKLV LQIRUPDWLRQ ,Q SDUWLFXODU WKLV FRPPXQLFDWLRQ H[SODLQV ZK\ WKH &RPSDQ\
KROGV WKLV 3HUVRQDO 'DWD DQG H[SODLQV KRZ HDFK SDUWLFLSDQW FDQ UDLVH DQ\ TXHVWLRQV RU H[HUFLVH
WKHLU ULJKWV UHJDUGLQJ WKH &RPSDQ\¶V XVH RI 3HUVRQDO 'DWD

<RX FDQ ILQG D FRS\ RI WKLV SULYDF\ QRWLFH IRU YLHZLQJ RQOLQH RQ *URXSRQ¶V LQWUDQHW 6N\QHW RU
E\ UHTXHVW XVLQJ WKH FRQWDFW GHWDLOV VHW RXW EHORZ

7KLV FRPPXQLFDWLRQ VXSSOHPHQWV LQIRUPDWLRQ UHODWLQJ WR WKH XVH RI \RXU 3HUVRQDO 'DWD VHW RXW LQ
WKH UHOHYDQW DZDUG DJUHHPHQW RU DJUHHPHQWV LVVXHG WR \RX XQGHU WKH 3ODQ WKH ³$JUHHPHQWV´ 
6KRXOG WKHUH EH DQ\ LQFRQVLVWHQF\ EHWZHHQ WKH WHUPV RI WKLV SULYDF\ QRWLFH DQG WKH $JUHHPHQWV
UHODWLQJ WR WKH &RPSDQ\¶V XVH RI \RXU 'DWD WKH &RPSDQ\ ZLOO XVH \RXU 3HUVRQDO 'DWD DV GHVFULEHG
LQ WKLV SULYDF\ QRWLFH

7KH WHUP ³3HUVRQDO 'DWD´ DV XVHG LQ WKLV SULYDF\ QRWLFH PHDQV LQIRUPDWLRQ ZKLFK UHODWHV WR \RX
DQG ZKLFK WKH &RPSDQ\ SURFHVVHV LQ RUGHU WR SURYLGH WKH 3ODQ ,W LQFOXGHV \RXU QDPH KRPH
DGGUHVV HPDLO DGGUHVV DQG WHOHSKRQH QXPEHU GDWH RI ELUWK VRFLDO LQVXUDQFH QXPEHU SDVVSRUW
QXPEHU RU RWKHU LGHQWLILFDWLRQ QXPEHU VDODU\ QDWLRQDOLW\ DQG MRE WLWOH DV ZHOO DV GHWDLOV RI DQ\
VKDUHV GLUHFWRUVKLSV DZDUGV RU DQ\ RWKHU HTXLW\ RU VKDUH ULJKWV \RX PD\ KDYH LQ WKH &RPSDQ\
 ZKHWKHU DZDUGHG FDQFHOHG H[HUFLVHG YHVWHG XQYHVWHG RU RXWVWDQGLQJ  0XFK RI WKLV LQIRUPDWLRQ
LV QHFHVVDU\ LQ RUGHU IRU \RX WR SDUWLFLSDWH LQ WKH 3ODQ IRU H[DPSOH \RXU QDPH FRQWDFW GHWDLOV DQG
LGHQWLILFDWLRQ YHULILFDWLRQ DV ZHOO DV LQIRUPDWLRQ DERXW \RXU MRE DQG LQYHVWPHQWV LQFOXGLQJ \RXU
VDODU\ DQG RWKHU HTXLW\VKDUH ULJKWV LQ WKH &RPSDQ\  ,I \RX GR QRW SURYLGH WKLV LQIRUPDWLRQ \RX
PD\ QRW EH DEOH WR SDUWLFLSDWH LQ WKH 3ODQ ,I \RX SDUWLFLSDWH LQ WKH 3ODQ ZH ZLOO H[WUDFW WKLV
LQIRUPDWLRQ IURP RXU H[LVWLQJ V\VWHPV

'DWD &RQWUROOHU (QWLW\ 7KH &RPSDQ\ LV WKH 'DWD &RQWUROOHU 7KH &RPSDQ\ LV D 'HODZDUH
FRUSRUDWLRQ ZLWK LWV SULQFLSDO 8QLWHG 6WDWHV RIILFH DW  :HVW &KLFDJR $YHQXH 6XLWH 
&KLFDJR ,OOLQRLV  86$

3XUSRVHV IRU ZKLFK 3HUVRQDO 'DWD LV XVHG 3HUVRQDO 'DWD LV KHOG IRU WKH H[FOXVLYH SXUSRVH RI
LPSOHPHQWLQJ DGPLQLVWHULQJ DQG PDQDJLQJ \RXU SDUWLFLSDWLRQ LQ WKH 3ODQ 7KLV LV QHFHVVDU\ IRU
WKH &RPSDQ\ WR IXOILOO LWV FRQWUDFWXDO REOLJDWLRQV WR \RX XQGHU WKH $JUHHPHQWV UHODWHG WR WKH 3ODQ

,QWHUQDWLRQDO 7UDQVIHUV RI 'DWD 7KH &RPSDQ\ LV EDVHG LQ WKH 8QLWHG 6WDWHV DQG WKH $JUHHPHQWV
DUH SHUIRUPHG LQ WKH 8QLWHG 6WDWHV VR WKH &RPSDQ\ FDQ RQO\ PHHW LWV FRQWUDFWXDO REOLJDWLRQV WR
\RX XQGHU WKH $JUHHPHQWV LI WKH 'DWD LV WUDQVIHUUHG WR WKH 8QLWHG 6WDWHV 7KH SHUIRUPDQFH RI WKH
FRQWUDFWXDO REOLJDWLRQV RI WKH &RPSDQ\ WR \RX LV RQH RI WKH OHJDO EDVHV IRU WKH WUDQVIHU RI WKH 'DWD
IURP WKH (XURSHDQ 8QLRQ WR WKH 8QLWHG 6WDWHV <RX VKRXOG EH DZDUH WKDW WKH 8QLWHG 6WDWHV PD\


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KDYH GLIIHUHQW GDWD SULYDF\ ODZV DQG SURWHFWLRQV WKDQ WKH GDWD SULYDF\ ODZV LQ SODFH LQ WKH (XURSHDQ
8QLRQ

5HWHQWLRQ 3HULRG <RXU 3HUVRQDO 'DWD UHODWLQJ WR WKH 3ODQ ZLOO EH UHWDLQHG IRU WKH SXUSRVHV
GHVFULEHG DERYH IRU WHQ  \HDUV DIWHU \RXU VHSDUDWLRQ IURP WKH &RPSDQ\ <RXU 3HUVRQDO 'DWD
ZLOO DOVR EH UHWDLQHG IRU WKH VDPH WLPH SHULRG :KHQ GHWHUPLQLQJ WKLV DGGLWLRQDO SHULRG ZH WDNH
LQWR DFFRXQW RXU OHJDO REOLJDWLRQV ZKLFK PD\ UHTXLUH XV WR UHWDLQ 3HUVRQDO 'DWD UHODWLQJ WR WKH 3ODQ
IRU D ORQJHU SHULRG DQG RXU REOLJDWLRQV WR PDLQWDLQ UHFRUGV IRU DXGLW SXUSRVHV DV ZHOO DV GHIHQGLQJ
RU EULQJLQJ OHJDO FODLPV DERXW WKH 3ODQ DQG WR GHDO ZLWK DQ\ FRPSODLQWV DERXW WKH 3ODQ

2WKHU 5HFLSLHQWV 7R IXOILOO LWV REOLJDWLRQV XQGHU WKH $JUHHPHQWV WKH &RPSDQ\ PD\ VKDUH
3HUVRQDO 'DWD ZLWK LWV VXEVLGLDU\ FRPSDQLHV ZKR HPSOR\ SDUWLFLSDQWV LQ WKH 3ODQ ,Q DGGLWLRQ
3HUVRQDO 'DWD PD\ EH WUDQVIHUUHG WR FHUWDLQ WKLUG SDUWLHV DVVLVWLQJ LQ WKH LPSOHPHQWDWLRQ
DGPLQLVWUDWLRQ DQG PDQDJHPHQW RI WKH 3ODQ VXFK DV VKDUH SODQ DGPLQLVWUDWRUV DQG WUDQVIHU DJHQWV
7KHVH WKLUG SDUWLHV ZLOO RQO\ EH SHUPLWWHG WR DFW RQ WKH &RPSDQ\¶V LQVWUXFWLRQV DQG EHKDOI $W
\RXU LQVWUXFWLRQ WKH 3HUVRQDO 'DWD ZLOO EH VKDUHG ZLWK D EURNHU RU RWKHU WKLUG SDUW\ ZKRP \RX
KDYH LQVWUXFWHG WKH &RPSDQ\ WR GHSRVLW VKDUHV RU RWKHU VHFXULWLHV DFTXLUHG XSRQ WKH YHVWLQJ RI DQ\
DZDUGV XQGHU WKH $JUHHPHQWV

'DWD 6XEMHFW 5LJKWV 3DUWLFLSDQWV KDYH D QXPEHU RI ULJKWV XQGHU WKH *'35 'HSHQGLQJ XSRQ
WKH FLUFXPVWDQFHV WKHVH PD\ LQFOXGH WKH ULJKW RI GDWD SRUWDELOLW\ ZKHUH WKH &RPSDQ\ KHOSV D
SDUWLFLSDQW PRYH 3HUVRQDO 'DWD WR VRPHRQH HOVH DW WKH SDUWLFLSDQW¶V UHTXHVW  WKH ULJKW WR REMHFW WR
WKH SURFHVVLQJ RI WKH 3HUVRQDO 'DWD WKH ULJKW WR UHTXLUH WKH &RPSDQ\ WR XSGDWH DQG FRUUHFW DQ\
3HUVRQDO 'DWD ZKLFK LV LQFRUUHFW RU RXW RI GDWH WKH ULJKW WR UHTXLUH HUDVXUH RI WKH 3HUVRQDO 'DWD
DQG WKH ULJKW IRU WKH SDUWLFLSDQW WR UHFHLYH D FRS\ RI WKH 3HUVRQDO 'DWD KHOG E\ WKH &RPSDQ\ LQ
UHODWLRQ WR WKH 3ODQ )RU PRUH LQIRUPDWLRQ DERXW WKHVH ULJKWV RU WR H[HUFLVH DQ\ RI WKHVH ULJKWV
SOHDVH FRQWDFW WKH &RPSDQ\ XVLQJ WKH FRQWDFW GHWDLOV EHORZ

:H DUH FRPPLWWHG WR ZRUNLQJ ZLWK \RX WR REWDLQ D IDLU UHVROXWLRQ RI DQ\ FRPSODLQW RU FRQFHUQ
DERXW SULYDF\ ,I KRZHYHU \RX EHOLHYH WKDW ZH KDYH QRW EHHQ DEOH WR DVVLVW ZLWK \RXU FRPSODLQW
RU FRQFHUQ \RX KDYH WKH ULJKW WR PDNH D FRPSODLQW WR WKH GDWD SURWHFWLRQ DXWKRULW\ RI WKH FRXQWU\
LQ ZKLFK \RX OLYH

&RQWDFW ,I \RX KDYH DQ\ TXHVWLRQV FRQFHUQLQJ WKLV SULYDF\ QRWLFH \RX VKRXOG FRQWDFW WKH
*URXSRQ 7RWDO 5HZDUGV 7HDP E\ XVLQJ WKH IROORZLQJ FRQWDFW GHWDLOV WRWDOUHZDUGV#JURXSRQFRP
<RX FDQ DOVR FRQWDFW RXU 'DWD 3URWHFWLRQ 2IILFHU DW GSR#JURXSRQFRP




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05/03/2021 11:00 AM U.S. Eastern Standard Time

ACCEPTED




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                Exhibit D
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                                                                     Sheppard, Mullin, Richter & Hampton
                                                                     LLP
                                                                     70 West Madison Street, 48th Floor
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                                                                     312.499.6301 fax
                                                                     www.sheppardmullin.com


                                                                     Kevin M. Cloutier
                                                                     312.499.6304 direct
                                                                     kcloutier@sheppardmullin.com
November 3, 2021
                                                                     File Number: 51CE-344243



VIA E-MAIL (SUNGHSHIN@GMAIL.COM) & OVERNIGHT MAIL

Mr. Sung Shin
1525 C 19th Ave.
Seattle, Washington 98122

Re:    Your Post-Employment Obligations to Groupon, Inc.


Dear Mr. Shin:

        Please be advised that Sheppard, Mullin, Richter & Hampton LLP represents Groupon,
Inc. (“Groupon” or the “Company”). We understand you resigned from your employment with
Groupon as Vice President – Global Head of Advertising and Ancillary Review on October 28,
2021. You announced an intention to commence employment with Yelp, Inc. (“Yelp”) to Lead
Product Management for Yelp’s Enterprise and Multi-Location - Yelp Audiences and In-store
Measurement Group. Groupon has serious concerns about the competitive nature of your
proposed work with Yelp, a Groupon competitor, which we believe would violate your post-
employment obligations to Groupon set forth in your Confidentiality, Intellectual Property and
Restrictive Covenants Agreement (the “Agreement”), a copy of which is here attached.

        Your compensation (including a $100,000 sign on bonus and your base salary of
$275,000, plus a bonus potential of 40% of your base salary, Restricted Share Units valued at
$700,000, and perquisites) and your considerable access to Groupon’s trade secrets and
confidential information, including Groupon’s overall advertising strategy, serve as ample
consideration for the restrictive covenants in your Agreement. The restrictions set forth in the
Agreement are reasonable and remain in full force and effect whether you decide to remain at
Groupon or leave to pursue other opportunities.

        Groupon expects you to honor and to abide by your post-employment obligations and, if
necessary, will legally enforce its rights under the Agreement through Court action, although
Groupon hopes that this is not necessary. The Agreement prohibits you from, among other things,
engaging in certain competitive activity, including employment with competitors like Yelp,
specifically in positions with responsibilities similar to those you held at Groupon or in positions
with access to confidential information similar to that which you are privy at Groupon. It also
prohibits interference with customer relationships, disclosure of proprietary and confidential
information, and solicitation of Groupon employees on behalf of you or a Groupon competitor. In
pertinent part, the Agreement states:
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       13.    Non-Compete,        Non-Solicit        of    Business,    Non-Solicit      of
       Employees/Contractors and No-Hire (“Restricted Covenants”). I acknowledge and
       agree that during my employment and during the Restricted Period, regardless of
       the reason for my termination, I will not, without Groupon’s consent, other than on
       behalf of Groupon:

               (a)     Directly or indirectly, and whether or not for compensation, . . . be
       employed by, consult with or contract with any entity which is in competition with
       Groupon in the Geographic Area. The restriction in the preceding sentence only
       applies to positions with responsibilities similar to any position I held with Groupon
       during the twelve (12) months preceding the termination of my employment or
       relationship with Groupon or in which I would have responsibility for and access to
       confidential information similar or relevant to that which I had access to during the
       twelve (12) months preceding the termination of my employment or relationship
       with Groupon. The Geographic Area shall mean any geographic territory where I
       was assigned to work and/or over which I had responsibilities during the twelve
       (12) months preceding the termination of my employment or relationship with
       Groupon and any area within a 50-mile radius of such geographic territory;

        The Agreement also prohibits you from retaining, using and/or disclosing Groupon’s
proprietary information. In pertinent part, the Agreement states:

       2.      Ownership and Confidentiality of Proprietary Information.

       ...

                (b)    At all times, both during my employment by Groupon and after
       termination of such employment, I will keep in confidence and trust all Proprietary
       Information, and, except as necessary to meet Groupon’s business needs, I will
       not: (i) use any Proprietary Information; (ii) directly or indirectly permit a third party
       to obtain access to any Proprietary Information; or (iii) transmit or disclose any
       Proprietary Information to any person, concern or entity. Further, I shall not make
       use of any Proprietary Information, directly or indirectly, for myself or for others,
       including, without limitation, in connection with any other employment or consulting
       capacity, or in connection with soliciting Groupon’s customers, prospective
       customers, vendors, independent contractors, consultants, or business partners or
       Groupon’s employees.

       ...

                (c)    All non-disclosure obligations of paragraph 2(b) above shall apply:
       (i) as to Proprietary Information other than trade secrets, at all times during my
       employment and for two (2) years after termination of such employment; and (ii)
       as to trade secrets, for as long as such trade secrets retain their status as a “trade
       secret” under applicable law.
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       The Agreement details “Proprietary Information” to include:

       [A]ny and all technical and non-technical information including patent, copyright,
       trademark, trade secret, and proprietary information, techniques, sketches,
       drawings, models, inventions, know-how, business methods, processes,
       apparatus, equipment, algorithms, software programs, domain names, social
       media handles, code, software source documents, flowcharts, tools, architectures,
       databases, menu layouts, routines, formats, data compilers and assemblers, and
       formulae related to the current, future and proposed products and services of
       Groupon or its subsidiaries, and including, without limitation, respective
       information concerning research, experimental work, development, design details
       and specifications, engineering, financial information, procurement requirements,
       purchasing manufacturing, customer lists, job histories, job performance and
       salary information of employees, business forecasts, sales and merchandising and
       marketing plans and information. “Proprietary Information” also includes
       proprietary or confidential information of any third party who may disclose such
       information to Groupon or to me under any obligation of confidentiality in the
       course of Groupon’s business.

        The role at Yelp is directly competitive with your role at Groupon, which similarly focuses
on developing innovative advertising strategies to promote offerings to potential customers and
to reach consumers throughout the purchase cycle. In Yelp’s 2020 10-K, Yelp articulated its
overall business strategy and competitive landscape as follows: “Our competitors consist of
companies that help businesses — particularly businesses in our strategically important
Services categories and, to a lesser extent, restaurants category — connect and engage
with consumers, including...providers of online marketing and tools for managing and
optimizing advertising campaigns, such as Google, Facebook and Twitter, as well as various
forms of traditional offline advertising, including radio, direct marketing campaigns, yellow pages
and newspapers…” (emphasis added).

        Yelp’s website further highlights that it is specifically targeting potential merchants to
spend their advertising dollars directly with Yelp -- directly competing with Groupon for those
limited advertising dollars from merchants. See https://business.yelp.com/products/yelp-ads/

       Yelp also is advertising “deals” on its online marketing platform, which Yelp describes as,
“discounted vouchers that customers can purchase for [merchant] business[es]” which is exactly
what Groupon does to “help businesses…connect and engage with consumers.”

        The parallels between your position at Groupon and your anticipated position at Yelp,
coupled with your orchestration and access to Groupon’s confidential advertising strategies and
plans, raise serious concerns, and it is Groupon’s position that you taking this role at Yelp would
violate the clear terms of your Agreement. Groupon does not believe you can perform your
anticipated role with Yelp without violating the Agreement.
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Mr. Sung Shin
November 3, 2021
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        Accordingly, we hereby request you provide us with any information as to why you/Yelp
believe this role is not competitive and would not violate your Agreement by November 5, 2021.
A copy of this letter also is being provided to Yelp’s Chief Administrative Officer and General
Counsel and serves as notice of Groupon’s position (based on the facts to-date) that your
employment would violate your Agreement, and employing you would constitute tortious
interference with the Agreement. We will consider any information you or Yelp provide. In the
event, however, that we continue to believe this is a competitive activity, we reserve the right to
pursue legal and equitable action to prevent a breach of our Agreement, or a tortious interference
of our rights under the Agreement.

        In addition, you and Yelp are hereby advised to take all necessary and appropriate steps
to preserve documents, data and other evidence that may be relevant in this matter, including but
not limited to any communications with Yelp related to your offer, your work at Groupon, and/or
your Agreement as well as any text messages, emails, call logs relating to your potential work at
Yelp or your work at Groupon

         Finally, Groupon has already started a dialogue with you about potential options in light of
the above. As Groupon discussed with you, Groupon is willing to continue to employ you in your
current role provided you are fully committed to do so. If you are intent to leave Groupon, Groupon
is willing to consider a transition period where you continue to work at Groupon while you search
for other employment that would not violate your Agreement. The restrictions in your Agreement
are narrowly tailored and there are many opportunities based on your skill set that would not
compete with Groupon. Groupon, of course, would expect you to remain fully and faithfully
committed to your work, including driving and executing advertising strategy, and it reserves all
rights in the event you fail to do so.

       If you have questions, please contact me directly. If you are represented by counsel,
please forward this letter to your lawyer. Thank you for your prompt attention to this matter.

Very truly yours,




Kevin M. Cloutier
for SHEPPARD, MULLIN, RICHTER & HAMPTON LLP



Encl.

cc:      Laurence Wilson, Chief Administrative Officer and General Counsel, Yelp
         Meagan LeGear, Groupon (via email only)
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                          CONFIDENTIALITY, INTELLECTUAL PROPERTY
                           AND RESTRICTIVE COVENANTS AGREEMENT

         In return for my new or continued employment with Groupon, Inc., its subsidiaries,
affiliates, and acquired entities (collectively,          , any other monetary benefits received
at the time of signing, and other good and valuable consideration, including but not limited to
employee benefits, training, career progression, promotions, access to confidential information
and other monetary benefits, the receipt and sufficiency of which I hereby acknowledge, I agree
to the following:

I.        Confidentiality of Proprietary Information and Innovations

       1.      Proprietary Information. My employment status creates a relationship of
confidence and trust between Groupon and me with respect to any information that is not
generally known to the public and is otherwise treated by Groupon as confidential or proprietary
and is: (a) applicable to the business of Groupon or its subsidiaries; or (b) applicable to the
business of any client or customer of Groupon or its subsidiaries, which may be made known to
me by Groupon or by any client or customer of Groupon or its subsidiaries, or learned by me in
such context during the period of my employment.

        All such information has commercial value in the business in which Groupon is engaged
and is hereinafter cal                                 By way of illustration, but not limitation,
Proprietary Information includes any and all technical and non-technical information including
patent, copyright, trademark, trade secret, and proprietary information, techniques, sketches,
drawings, models, inventions, know-how, business methods, processes, apparatus, equipment,
algorithms, software programs, domain names, social media handles, code, software source
documents, flowcharts, tools, architectures, databases, menu layouts, routines, formats, data
compilers and assemblers, and formulae related to the current, future and proposed products and
services of Groupon or its subsidiaries, and including, without limitation, respective information
concerning research, experimental work, development, design details and specifications,
engineering, financial information, procurement requirements, purchasing manufacturing,
customer lists, job histories, job performance and salary information of employees, business
forecasts, sales and merchandising and marketing plans and information.
                          s proprietary or confidential information of any third party who may
disclose such information to Groupon or to me under any obligation of confidentiality in the


          2.        Ownership and Confidentiality of Proprietary Information.

                    (a)All Pr
                        licensors                                                    licensors shall
be the sole and exclusive owner of all patents, copyrights, trademarks, mask works, trade secrets,
domain names, social media handles and other rights in the Proprietary Information. I hereby
grant and assign to Groupon all rights, title and interest I may have or acquire in the Proprietary
Information, without further consideration, including all rights to sue for past infringement.
Neither the execution and delivery of this Agreement, nor the furnishing of any Proprietary
Information to me by Groupon, shall be construed as granting to me either expressly, by

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trade secrets or Proprietary Information, I agree to facilitate the return and/or remediation of such
Groupon property as may be requested by Groupon.

          5.    Prior Work. All previous work done by me for Groupon or its subsidiaries
relating in any way to the conception, reduction to practice, creation, derivation, design,
development, manufacture, sale or support of operations, products or services of Groupon, or by
Groupon, is the property of Groupon, and I hereby assign to Groupon all of my right, title and
interest in and to such previous work, without further consideration, including the right to sue for
past infringement.

        6.       Creative Works; Innovations.                                              Creative
Works
inventions (whether or not protectable under patent laws), works of authorship, information fixed
in any tangible medium of expression (whether or not protectable under copyright laws), moral
rights, mask works, trademarks, trade names, trade dress, trade secrets, know-how, ideas
(whether or not protectable under trade secret laws), and all other subject matter protectable
under patent, copyright, moral right, mask work, trademark, trade secret or other laws, and
includes without limitation all new or useful art, combinations, discoveries, formulae,
manufacturing techniques, technical developments, discoveries, artwork, software, code,
software source documents, flowcharts, tools, architectures, databases, menu layouts, routines,
formats, data compilers and assemblers, and designs.
Works that relate to: (a) the business of Groupon or its subsidiaries; (b) any current, future or
proposed products or services of Groupon or its subsidiaries; or (c) any product, service, or
activity that is similar to or competitive with those offered or proposed to be offered by Groupon
or its subsidiaries.                 further
inventions protected or protectable under the patent laws of any country.

        7.     Creative Works License. I hereby grant to Groupon and its subsidiaries a royalty
free, irrevocable, worldwide license (with rights to sublicense through multiple tiers of
sublicensees) to practice all applicable patent, copyright, trademark, moral right, mask work,
trade secret and other intellectual property rights relating to any Creative Works that: (a) were or
are conceived, reduced to practice, created, derived, developed, owned, or made by me; (b) are
not Innovations assigned to Groupon under paragraph 8; and (c) are used or incorporated with
my knowledge during the term of my employment or within three (3) months thereafter, through
my actions or inactions, directly or indirectly, into any operation, product or service of Groupon
or its subsidiaries. Notwithstanding the foregoing, I agree that I will not incorporate, direct,
permit or allow to be incorporated, any Creative Works, which are not Innovations assigned to
Groupon under paragraph 8, in any operation, product or service of Groupon or its subsidiaries


          8.    Assignment of Innovations. I hereby agree promptly to disclose and describe to
Groupon, and I hereby grant and
consideration, my entire right, title, and interest in and to: (a) with respect to Inventions, each
Invention, and any associated intellectual property rights, which I may solely or jointly conceive,
reduce to practice, create, derive, develop or make during the period of my employment (whether
during business hours or after business hours) with Groupon, except any Invention which meets
all of the following criteria (i)-(iii) (as demonstrated by me by evidence meeting the clear and

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convincing standard of proof): (i) the Invention does not relate, at the time of conception,
reduction to practice, creation, derivation, development, or making of such Innovation, to
                                                     pated research or development; (ii) the

                                     facilities or trade secret or other Proprietary Information; and
(iii) the Invention did not result from any work I performed for Groupon; and (b) with respect to
each of the Innovations which is not an Invention, each such Innovation, and any associated
intellectual property rights, which I may solely or jointly conceive, develop, reduce to practice,
create, derive, develop, or make during the period of my employment (whether during business
hours or after business hours) with Groupon (collectively, the Innovations identified in clauses
(a) and (b) of this paragraph 8 are hereinaft                                     To the extent any of
the rights, title and interest in and to Groupon Innovations cannot be assigned by me to Groupon
under applicable law, I hereby grant to Groupon an exclusive, royalty-free, transferable,
irrevocable, worldwide license (with rights to sublicense through multiple tiers of sublicensees)
to practice such non-assignable rights, title and interest. To the extent any of the rights, title and
interest in and to Groupon Innovations can be neither assigned nor licensed by me to Groupon, I
hereby irrevocably waive and agree never to assert such non-assignable and non-licensable
rights, title and interest against Groupon or any of Group                                           -
assignable and non-licensable rights.

         9.     Future Innovations. I recognize that Innovations or Proprietary Information that
are conceived, reduced to practice, created, derived, developed, or made by me, alone or with
others, within three (3) months after termination of my employment may have been conceived,
reduced to practice, created, derived, developed, or made, as applicable, in significant part while
employed by or working for Groupon. Accordingly, I agree that such Innovations and
Proprietary Information shall be presumed to have been conceived, reduced to practice, created,
derived, developed, or made, as applicable, during my employment with Groupon and shall be
deemed a work made for hire and made in the course of services rendered as an employee of
Groupon and shall be the exclusive property of Groupon. To the extent that title to such
Innovations or Proprietary Information does not vest in Groupon by operation of law, I hereby
assign and transfer to Groupon, its successors, legal representatives and assigns, and upon the
future creation thereof automatically assign to Groupon, its successors, legal representatives and
assigns, without further consideration, my entire right, title, and interest in and to any and all
such Innovations or Proprietary Information, including the right to sue for past infringement of
same, with no express or implied license to me except as may subsequently be executed in
writing by Groupon. The assignments of paragraph 8 and this paragraph 9 do not apply to any
invention that qualifies under 765 Ill. Comp. Stat. §1060, Kan. Stat. Ann. §44-130, Minn. Stat.
§181.78, or Wash. Rev. Code §49.44.140, copies of which may be found here:
https://skynet.groupon.com/hr/hr_essentials_north_america/stateinventionstatutes.

          10.       Cooperation in Perfecting Rights to Proprietary Information and Innovations.

                    (a)         I agree to perform, during and after my employment, all acts deemed

obtaining and enforcing the full benefits, enjoyment, rights and title throughout the world in the
Proprietary Information, Creative Works, and Innovations assigned or licensed to, or whose
rights are irrevocably waived and shall not be asserted against, Groupon under this Agreement.

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Such acts may include, but are not limited to, execution of documents and assistance or
cooperation: (i) in the filing, prosecution, registration, and memorialization of assignment of any
applicable patents, copyrights, mask work, or other applications; (ii) in the enforcement of any
applicable patents, copyrights, mask work, moral rights, trade secrets, or other proprietary rights;
and (iii) in other legal proceedings related to the Proprietary Information, Creative Works, or
Innovations.

               (b)     In the event that Groupon is unable for any reason to secure my signature
to any document required to file, prosecute, register, or memorialize the assignment of any
patent, copyright, mask work or other applications or to enforce any patent, copyright, mask
work, moral right, trade secret or other proprietary right under any Proprietary Information
(including improvements thereof) or any Groupon Innovations (including derivative works,
improvements, renewals, extensions, continuations, divisionals, continuations in part, continuing
patent applications, reissues, and reexaminations thereof), I hereby irrevocably designate and

attorneys-in-fact to act for and on my behalf and instead of me: (i) to execute, file, prosecute,
register and memorialize the assignment of any such application; (ii) to execute and file any
documentation required for such enforcement; and (iii) to do all other lawfully permitted acts to
further the filing, prosecution, registration, memorialization of assignment, issuance, and
enforcement of patents, copyrights, mask works, moral rights, trade secrets or other rights under
the Proprietary Information, or Groupon Innovations, all with the same legal force and effect as
if executed by me.

       11.      No Violation of Rights of Third Parties. My performance of all the terms of this
Agreement and as an employee of Groupon does not and will not breach any agreement to keep
in confidence proprietary information, knowledge or data acquired by me prior to my
employment with Groupon, and I will not disclose to Groupon, or induce Groupon to use, any
confidential or proprietary information or material belonging to any previous employer or others.
I am not a party to any other agreement which will interfere with my full compliance with this
Agreement. I agree not to enter into any agreement, whether written or oral, in conflict with the
provisions of this Agreement.

II.       Restrictive Covenants/Notifications/Certification/Exit Interview

          12.  Restricted Period. I agree that the Restrictive Covenants in this Section II shall
apply during my employment and during
begins as of the date I cease to be employed by Groupon and is defined as eighteen (18) months
from the Date of Termination.                                                            internal
Human Resources Information Systems that my employment was terminated with Groupon.

          13.  Non-Compete, Non-Solicit of Business, Non-Solicit of Employees/Contractors
and No-Hire                            . I acknowledge and agree that during my employment
and during the Restricted Period, regardless of the reason for my termination, I will not, without
                   other than on behalf of Groupon:

              (a)  Directly or indirectly, and whether or not for compensation, own (other
than less than 5% ownership in a publicly traded company), manage, operate, consult or

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participate in the ownership, management, operation or control of, or be employed by, consult
with or contract with any entity which is in competition with Groupon in the Geographic Area.
The restriction in the preceding sentence only applies to positions with responsibilities similar to
any position I held with Groupon during the twelve (12) months preceding the termination of my
employment or relationship with Groupon or in which I would have responsibility for and access
to confidential information similar or relevant to that which I had access to during the twelve
(12) months preceding the termination of my employment or relationship with Groupon. The
Geographic Area shall mean any geographic territory where I was assigned to work and/or over
which I had responsibilities during the twelve (12) months preceding the termination of my
employment or relationship with Groupon and any area within a 50-mile radius of such
geographic territory;

                (b)     Directly or indirectly: (i) induce or attempt to induce any merchant,
customer, supplier, licensee, or business relation of Groupon to cease doing business with
Groupon, or in any way interfere with the relationship between Groupon and any merchant,
customer, supplier, licensee, or business relation of Groupon; or (ii) solicit or participate in
soliciting the business of any then-current or prospective merchant or customer which was a
merchant or customer of Groupon within one year prior to such solicitation, to purchase products
or services similar to, or competitive with, the products or services then-offered by Groupon, if I
had direct contact with the merchant or customer or any confidential information related to such
products or services during the twelve (12) months preceding the termination of my employment
or relationship with Groupon;

                (c)    Solely or jointly with others, and directly by my own actions or indirectly
by the actions of other people or companies acting on my behalf or at my behest solicit,
encourage, or take any other action, including but not limited to, using an agent to solicit, which
is intended to induce or encourage, or has the effect of inducing or encouraging, any employee or
independent contractor/consultant of Groupon to terminate his/her employment with Groupon or
to cease providing services to Groupon; and

               (d)     Solely or jointly with others, and directly by my own actions or indirectly
by the actions of other people or companies acting on my behalf or at my behest hire, contract,
take away or cause to be hired, contracted or taken away any employee or independent
contractor/consultant of Groupon.

        14.    Reasonableness of Restrictive Covenants. I acknowledge that the Restrictive
Covenants contained herein may limit and/or restrict me from soliciting talent, pursuing business
relationships and/or pursuing future employment opportunities, despite the fact that those
opportunities may be attractive, provide higher compensation, and may not be available at the
conclusion of the Restricted Period. I acknowledge that the Restrictive Covenants are

Groupon has with its employees, contractors/consultants, merchants and customers, which were
developed at considerable expense, time and difficulty; my position with Groupon; and my
                                                               rets.

          15.  Notifications, Certification and Exit Interview. While employed by Groupon and
during the Restricted Period, I agree:

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        (a)    (i) To provide a copy of this Agreement to any person or entity from whom I seek
work or employment as an employee, consultant, temporary worker, owner and/or independent
contractor in the same or similar industry as Groupon or in a position with the same or similar
job responsibilities or duties as I had at Groupon; and (ii) authorize Groupon to provide a copy of
this Agreement to any such person or entity and discuss the provisions of this Agreement with
said person or entity;

        (b)    To identify in writing within three (3) business days of a request by a Human
Resources representative: (i) all persons or entities with whom I have accepted or plan to accept
employment or work as an employee, consultant, temporary worker, owner and/or independent
contractor in the same or similar industry as Groupon or in a position with the same or similar
job responsibilities or duties as I have/had at Groupon; and (ii) provide to Groupon a general job
description identifying my title and describing my duties and responsibilities in my new
engagement;

     (c)    To certify my compliance with this Agreement in writing, if requested by a
Human Resources representative; and

       (d)     To make myself available for an exit interview with a designated Groupon
representative at the time of my departure from Groupon.

III.      Miscellaneous Employment Provisions

        16.    At-Will Employment. I will perform for Groupon such duties as may be
designated by Groupon from time to time. I agree that my employment with Groupon is for no
specified term, and may be terminated by Groupon at any time, with or without cause, and with
or without notice. Similarly, I may terminate my employment with Groupon at any time, with or
without cause, and with or without notice.

        17.     Loyalty to Groupon and Other Employment. While employed by Groupon, I will
devote my full professional time, attention and loyalty to Groupon. I will not be employed by,
consult for, contract with or work for, in any capacity, any person or entity that could harm
             reputation or good name or that could be detrimental to Groupon s business,
including its relationship with other businesses and its employees, as determined by Groupon.
Further, I will not engage in any other employment (or contractor relationship) without the prior
written consent of a Groupon Human Resources Business Partner.
Global Code of Conduct contains information about my duty of loyalty, among other things, and
agree to review and abide by it.

          18.   Return of Equipment. Upon termination (or reassignment or at the request of
Groupon, if directed), I agree to immediately return all Groupon-issued equipment, including my
laptop computer, desktop computer, accessories (monitors and keyboards), tablets and cellular
devices. I understand that if I do not return such equipment or if I return such equipment
damaged and/or inoperable, Groupon reserves the right to: (i) withhold my wages or other
monies owed until all such materials are returned in working order or deduct from my paycheck
the fair market value of the equipment, consistent with the requirements of applicable law;
and/or (ii) take legal action to recover the equipment or the reasonable cost of the equipment. I


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further agree that if Groupon takes legal action and prevails in such action, I will reimburse
Groupon for all costs incurred taking such action, including but not limited to, reasonable


       19.      Survival. This Agreement: (a) shall survive my employment with Groupon;
(b) does not in any way restrict my right or the right of Groupon to terminate my employment at
any time, for any reason or for no reason; (c) inures to the benefit of successors and assigns of
Groupon; and (d) is binding upon my heirs and legal representatives.

          20.   Injunctive Relief. A breach of any of the promises or agreements contained
herein will result in irreparable and continuing damage to Groupon for which there will be
insufficient adequate remedy at law, and Groupon shall be entitled to injunctive relief and/or a
decree for specific performance, and such other relief as may be proper (including monetary
damages if appropriate). Groupon shall be irreparably harmed if I were to violate this
Agreement and no bond shall be necessary by Groupon in connection with any injunctive relief
obtained against me for a violation of this Agreement. Should Groupon successfully enforce any
portion of this Agreement before a trier of fact or in an arbitration proceeding, Groupon shall be
                                                                        s a result of enforcing this
Agreement against me.

        21.    Consideration. I acknowledge and agree that I have received good and valuable
consideration in exchange for entering into this Agreement, including but not limited to my offer
of employment, continued employment, employee benefits, training, career progression and
promotions, access to confidential information and any other monetary benefits I received at the
time of signing this Agreement.

          22.   Notices. Any notice required or permitted by this Agreement shall be in writing
and shall be delivered as follows, with notice deemed given as indicated: (a) by personal
delivery, when delivered personally; (b) by overnight courier, upon written verification of
receipt; (c) by telecopy or facsimile transmission, upon acknowledgment of receipt of electronic
transmission; (d) by electronic mail, upon acknowledgment of receipt of electronic submission;
or (e) by certified or registered mail, return receipt requested, upon verification of receipt.
Notices to me shall b                                                                s as I may
specify in writing.                                               Head of Human Resources or
to such other address as Groupon may specify in writing.

          23.  Governing Law. I acknowledge and represent that I have substantial material
connections to Illinois by way of my employment with Groupon. As such, I agree that this
Agreement shall be governed in all respects by the laws of the United States of America and by
the laws of the State of Illinois. Each of the parties irrevocably consents to the exclusive
personal and subject matter jurisdiction of the federal and state courts located in Illinois, as
applicable, for any matter arising out of or relating to this Agreement, except that in actions
seeking to enforce any order or any judgment of such federal or state courts located in Illinois,
such personal jurisdiction shall be nonexclusive. The forum for any disputes arising out of this
Agreement shall be in the federal and state courts of Illinois.




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                Exhibit E
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                     #\[ÿ$eÿdÿ\                              .9!"ÿc/m$\8:                         /[ÿ$eÿdÿod!"[ÿ$!ÿdÿ["#[.[9
         86GG69ÿE6VpJÿF1<ÿg13?4ÿqIbIIIIILÿF4<ÿ=1<4                            rDsA                                 W4tÿr6<pÿE6VpÿDUV=19X4ÿss8
    Y9CBV14ÿ2@ÿV=4VpÿG1<pÿt=4=4<ÿ=4ÿ<4XB<19ÿTLZÿ=1ÿ7B34Cÿ133ÿ<4F6<ÿ<4u?B<4Cÿ6ÿ24ÿ7B34Cÿ2@ÿE4VB69ÿLHÿ6<ÿLRTCZÿ67ÿ=4ÿE4V?<BB4ÿDUV=19X4ÿfVÿ67ÿLvHSÿC?<B9Xÿ=4
F<4V4CB9XÿLKÿG69=ÿT6<ÿ76<ÿ?V=ÿ=6<4<ÿF4<B6Cÿ=1ÿ=4ÿ<4XB<19ÿt1ÿ<4u?B<4Cÿ6ÿ7B34ÿ?V=ÿ<4F6<ZJÿ19CÿTKZÿ=1ÿ2449ÿ?2w4Vÿ6ÿ?V=ÿ7B3B9Xÿ<4u?B<4G49 ÿ76<ÿ=4ÿF1 ÿvI
C1@bÿr4ÿÿ3ÿÿW6ÿÿO
    Y9CBV14ÿ2@ÿV=4VpÿG1<pÿt=4=4<ÿ=4ÿ<4XB<19ÿ=1ÿ?2GB4Cÿ434V<69BV133@ÿ4g4<@ÿY94<1VBg4ÿx11ÿ;B34ÿ<4u?B<4Cÿ6ÿ24ÿ?2GB4CÿF?<?19ÿ6ÿN?34ÿSIRÿ67ÿN4X?31B69
EQ0ÿTyKHKbSIRÿ67ÿ=BÿV=1F4<ZÿC?<B9Xÿ=4ÿF<4V4CB9XÿLKÿG69=ÿT6<ÿ76<ÿ?V=ÿ=6<4<ÿF4<B6Cÿ=1ÿ=4ÿ<4XB<19ÿt1ÿ<4u?B<4Cÿ6ÿ?2GBÿ?V=ÿ7B34Zbÿr4ÿÿ3ÿÿW6ÿO
    Y9CBV14ÿ2@ÿV=4VpÿG1<pÿt=4=4<ÿ=4ÿ<4XB<19ÿBÿ1ÿ31<X4ÿ1VV434<14Cÿ7B34<Jÿ19ÿ1VV434<14Cÿ7B34<Jÿ1ÿ969Q1VV434<14Cÿ7B34<Jÿ1ÿG1334<ÿ<4F6<B9XÿV6GF19@Jÿ6<ÿ19ÿ4G4<XB9X
X<6t=ÿV6GF19@bÿE44ÿ=4ÿC47B9BB69ÿ67ÿz31<X4ÿ1VV434<14Cÿ7B34<J{ÿz1VV434<14Cÿ7B34<J{ÿzG1334<ÿ<4F6<B9XÿV6GF19@J{ÿ19Cÿz4G4<XB9XÿX<6t=ÿV6GF19@{ÿB9ÿN?34ÿLK2QKÿ67
 =4                                                                       ÿDUV=19X4                                                                       ÿfVb
     s1<X4ÿ1VV434<14Cÿ7B34<             3                                            fVV434<14Cÿ7B34<                         O
     W69Q1VV434<14Cÿ7B34<ÿÿÿÿÿÿÿÿ       O                                            EG1334<ÿ<4F6<B9XÿV6GF19@                 O
                                                                                     DG4<XB9XÿX<6t=ÿV6GF19@                   O
Y7ÿ19ÿ4G4<XB9XÿX<6t=ÿV6GF19@JÿB9CBV14ÿ2@ÿV=4VpÿG1<pÿB7ÿ=4ÿ<4XB<19ÿ=1ÿ434V4Cÿ96ÿ6ÿ?4ÿ=4ÿ4U49C4Cÿ<19BB69ÿF4<B6Cÿ76<ÿV6GF3@B9XÿtB=ÿ19@ÿ94tÿ6<ÿ<4gB4C
7B919VB13ÿ1VV6?9B9Xÿ19C1<CÿF<6gBC4CÿF?<?19ÿ6ÿE4VB69ÿLHT1Zÿ67ÿ=4ÿDUV=19X4ÿfVbÿO
    Y9CBV14ÿ2@ÿV=4VpÿG1<pÿt=4=4<ÿ=4ÿ<4XB<19ÿBÿ1ÿ=433ÿV6GF19@ÿT1ÿC47B94CÿB9ÿN?34ÿLK2QKÿ67ÿ=4ÿDUV=19X4ÿfVZbÿr4ÿÿOÿÿW6ÿÿ3
    f ÿ67ÿMV624<ÿKvJÿKIKLJÿ=4<4ÿt4<4ÿ|HJIL}JISvÿ=1<4ÿ6? 19CB9Xÿ67ÿ=4ÿ<4XB<19iÿV6GG69ÿ6VpJÿF1<ÿg13?4ÿqIbIIIIILÿF4<ÿ=1<4b
01234ÿ67ÿ86949    Case: 1:21-cv-06082 Document #: 1-2 Filed: 11/12/21 Page 48 of 62 PageID #:84


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   .4/ÿ01           239194313ÿ514/49 ÿ679189349:
                    86994949ÿ8696339149ÿ;131944ÿ5<44                                                                                            =
                    86994949ÿ8696339149ÿ514/49 ÿ67ÿ>?4@1369                                                                                     A
                    86994949ÿ8696339149ÿ514/49 ÿ67ÿ86/?@4<493B4ÿ.946/4ÿ6C6 :                                                                    D
                    86994949ÿ8696339149ÿ514/49 ÿ67ÿ564E<6394@FÿGH83I                                                                            J
                    86994949ÿ8696339149ÿ514/49 ÿ67ÿ81<ÿ236K                                                                                     L
                    M64ÿ6ÿ86994949ÿ8696339149ÿ239194313ÿ514/49                                                                                 0N
   .4/ÿO1           P191Q4/49RÿS348 369ÿ199ÿT913I3ÿ67ÿ239194313ÿ86993369ÿ199ÿU483ÿ67ÿ>?4@1369                                                  OA
   .4/ÿV1           W819313B4ÿ199ÿW813313B4ÿS34368@4ÿT268ÿP1@E4ÿU3E                                                                            VA
   .4/ÿ=1           869@63ÿ199ÿX@64498@4                                                                                                       VA
"%&ÿ            &Y$%ÿ(+,%-"&',(
   .4/ÿ01           C4Q13ÿX@6444939Q                                                                                                           VD
   .4/ÿ0T1          U3Eÿ2146@                                                                                                                  VD
   .4/ÿO1           79@4Q34@49ÿ5134ÿ67ÿGH83Iÿ5448@334ÿ199ÿ7 4ÿ67ÿX@64449                                                                       VJ
   .4/ÿV1           S47183ÿ7?69ÿ54936@ÿ5448@334                                                                                                VJ
   .4/ÿ=1           P394ÿ5174IÿS34368@4                                                                                                        VJ
   .4/ÿA1           ><4@ÿ.976@/1369                                                                                                            VJ
   .4/ÿD1           GZ<323                                                                                                                     V[
!'#("&\%$]
                                                         ^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^
    7934 ÿ<4ÿ4694Zÿ8QQ4 ÿ6<4@K34_ÿ@474@4944ÿ39ÿ<3ÿW81@4@3IÿU4?6@ÿ69ÿ26@/ÿ0N`Wÿ6<4ÿaW81@4@3IÿU4?6@b:ÿ6ÿac43?_bÿ<4ÿa86/?19I_bÿaK4_bÿa8bÿ199
a68@bÿ@474@ÿ6ÿc43?ÿ.941ÿ199_ÿK<4@4ÿ1??@6?@314_ÿ3ÿ823931@341
    7934 ÿ<4ÿ4694Zÿ6<4@K34ÿ3993414_ÿK<4@4ÿK4ÿ@474@ÿ39ÿ<3ÿW81@4@3IÿU4?6@ÿ6ÿ68@ÿa/62334ÿ1??3341369bÿ6@ÿa/62334ÿ1??_bÿK4ÿ@474@ÿ6ÿ133ÿ67ÿ68@ÿ1??3341369ÿ76@
/62334`4912349ÿ94B344dÿ@474@4944ÿ6ÿ68@ÿa/62334ÿ?3176@/bÿ@474@ÿ6ÿ26<ÿ68@ÿ/62334ÿ1??ÿ199ÿ<4ÿB4@369 ÿ67ÿ68@ÿK4234ÿ<1ÿ1@4ÿ6?3/3e49ÿ76@ÿ/62334`2149
2@6K 4@1ÿ53/331@3I_ÿ@474@4944ÿ6ÿ68@ÿaK4234bÿ@474@ÿ6ÿB4@369ÿ67ÿ68@ÿK4234ÿ94934149ÿ6ÿ26<ÿ94E6?`ÿ199ÿ/62334`2149ÿ2@6K 4@_ÿ1ÿK433ÿ1ÿ<4ÿ7151ÿ199
394@9136913ÿB4@369ÿ67ÿ68@ÿK42341


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01234ÿ67ÿ86949      Case: 1:21-cv-06082 Document #: 1-2 Filed: 11/12/21 Page 49 of 62 PageID #:85


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    !"#ÿ%&''&()*+ÿ,)-./--)&*ÿ0*,ÿ0*0'1-)-ÿ&%ÿ&/2ÿ%)*0*.)0'ÿ.&*,)3)&*ÿ0*,ÿ2#-/'3-ÿ&%ÿ&4#203)&*-ÿ-"&/',ÿ5#ÿ2#0,ÿ)*ÿ.&*6/*.3)&*ÿ()3"ÿ&/2ÿ.&*,#*-#,ÿ.&*-&'),03#,ÿ%)*0*.)0'
-303#7#*3-ÿ0*,ÿ2#'03#,ÿ*&3#-ÿ044#02)*+ÿ#'-#("#2#ÿ)*ÿ3")-ÿ8/023#2'1ÿ9#4&23:ÿ!")-ÿ,)-./--)&*ÿ.&*30)*-ÿ%&2(02,;'&&<)*+ÿ-303#7#*3-ÿ3"03ÿ2#%'#.3ÿ&/2ÿ4'0*-=ÿ#-3)703#-ÿ0*,
5#')#%-=ÿ0*,ÿ)*>&'>#ÿ2)-<-ÿ0*,ÿ/*.#230)*3)#-:ÿ?/2ÿ0.3/0'ÿ2#-/'3-ÿ0*,ÿ3"#ÿ3)7)*+ÿ&%ÿ.#230)*ÿ#>#*3-ÿ.&/',ÿ,)%%#2ÿ703#2)0''1ÿ%2&7ÿ3"&-#ÿ0*3).)403#,ÿ)*ÿ3"#-#ÿ%&2(02,;'&&<)*+
-303#7#*3-ÿ0-ÿ0ÿ2#-/'3ÿ&%ÿ-#>#20'ÿ%0.3&2-=ÿ)*.'/,)*+ÿ3"&-#ÿ,)-./--#,ÿ)*ÿ3"#ÿ-#.3)&*ÿ3)3'#,ÿ@9)-<ÿA0.3&2-Bÿ)*.'/,#,ÿ/*,#2ÿC023ÿD=ÿD3#7ÿEFÿ)*ÿ&/2ÿF**/0'ÿ9#4&23:ÿG##
@G4#.)0'ÿH&3#ÿ9#+02,)*+ÿA&2(02,;I&&<)*+ÿG303#7#*3-Bÿ)*ÿ3")-ÿ8/023#2'1ÿ9#4&23:
JKLJMKN
    O ÿ694ÿ67ÿP4ÿ24 ÿQ96R9ÿS94T94ÿ2T19UÿS9ÿP4ÿV9S4UÿW14XÿY43ZÿSÿ1ÿT[ 4Uÿ36\13ÿT46[T\4ÿ76Tÿ\69[]4Tÿ19Uÿ1ÿZ1T94TÿS9ÿ[\\4 ÿ76Tÿ2[S94 4ÿ67ÿ133ÿS^4_
869[]4TÿT[ ÿ[ÿ76Tÿ6[Tÿ]6T4ÿP19ÿ̀aaÿ]S33S69ÿT1S9bÿ19UÿT4cS4R ÿ67ÿ2[S94 4ÿ1\T6 ÿ1ÿ2T61UÿT19b4ÿ67ÿ\14b6TS4XÿRPS34ÿ2[S94 4ÿ1Uc4TS4ÿRSPÿ[ÿ6ÿT41\Pÿ6[T
31Tb4ÿ1[US49\4ÿ67ÿZ[T\P14d6TS494Uÿ19Uÿb494T133eÿ1773[49ÿ\69[]4T_ÿf4ÿ243S4c4ÿ6[Tÿ12S3Seÿ6ÿZT6cSU4ÿc13[4ÿ6ÿ26Pÿ\69[]4Tÿ19Uÿ2[S94 4ÿ96ÿ693eÿ7[37S33ÿ6[T
]SS69ÿ6ÿ\6994\ÿ\69[]4TÿRSPÿbT41ÿ36\13ÿ2[S94 4Xÿ2[ÿ136ÿZ6SS69ÿ[ÿR433ÿS9ÿP4ÿ36\13XÿUSbS13ÿ1Uc4TSS9bÿ]1TQ4ÿS9ÿP4ÿV9S4UÿW14_
    f4ÿb494T14ÿ[2 19S133eÿ133ÿ67ÿ6[TÿT4c49[4ÿ7T6]ÿP4ÿ134ÿ67ÿZ4T76T]19\4d214Uÿ1Uc4TSS9bÿZT6U[\ XÿRPS\Pÿ6[Tÿ1Uc4TSS9bÿZ3176T]ÿ]1\P4ÿ6ÿS9UScSU[13
\69[]4TÿPT6[bPÿ1[\S69ÿZTS\4Uÿ69ÿ1ÿ\6 dZ4Td\3S\Qÿgh8i8hjÿ21S_ÿk9ÿP4ÿPT44ÿ]69Pÿ49U4UÿW4Z4]24TÿlaXÿ̀a`mXÿ6[Tÿ94ÿT4c49[4ÿR1ÿn`op_`ÿ]S33S69Xÿ[Zÿ̀`q
7T6]ÿP4ÿPT44ÿ]69Pÿ49U4UÿW4Z4]24TÿlaXÿ̀a`aXÿ19UÿR4ÿT4\6TU4Uÿ94ÿS9\6]4ÿ67ÿnmr_mÿ]S33S69ÿ19Uÿ1Us[ 4Uÿtuk0vOÿ67ÿnwa_wÿ]S33S69_ÿk9ÿP4ÿ9S94ÿ]69Pÿ49U4U
W4Z4]24TÿlaXÿ̀a`mXÿ6[Tÿ94ÿT4c49[4ÿR1ÿnwxr_yÿ]S33S69XÿRPS\PÿT4ZT4494Uÿ19ÿS9\T414ÿ67ÿmpqÿ7T6]ÿP4ÿ9S94ÿ]69Pÿ49U4UÿW4Z4]24TÿlaXÿ̀a`aXÿ19UÿR4ÿT4\6TU4Uÿ94
S9\6]4ÿ67ÿnmo_xÿ]S33S69ÿ19Uÿ1Us[ 4Uÿtuk0vOÿ67ÿnmwr_`ÿ]S33S69_ÿz6TÿS976T]1S69ÿ69ÿP6RÿR4ÿU47S94ÿ19Uÿ\13\[314ÿ1Us[ 4Uÿtuk0vOXÿ19Uÿ1ÿT4\69\S3S1S69ÿ67ÿPSÿ969d
{OOiÿ7S919\S13ÿ]41[T4ÿ6ÿ94ÿS9\6]4ÿg36 jXÿ44ÿhH&*;|FFCÿA)*0*.)0'ÿ}#0-/2#-hÿ2436R_
    O ÿ1ÿT4[3ÿ67ÿ6[TÿS9c4 ]49 ÿS9ÿZT6U[\Xÿ]1TQ4S9bÿ19Uÿ6[Tÿ~[3Sd36\1S69ÿ134ÿ41]XÿR4ÿ]1U4ÿ7[TP4TÿZT6bT4 ÿ69ÿ6[TÿT4c49[4ÿbT6RPÿS9SS1Sc4ÿS9ÿP4ÿPSTU
[1T4Tÿ67ÿ̀a`m
     D742&>#ÿ7&*#3)03)&*ÿ&%ÿ&/2ÿG#2>).#-ÿ.03#+&2)#-_ÿf4ÿ\69S9[4Uÿ6ÿUS774T49S14ÿP4ÿZT6U[\ÿ4Z4TS49\4ÿ76Tÿ2[S94 4ÿ19Uÿ\69[]4TÿS9ÿ6[TÿW4TcS\4ÿ\14b6TS4
         S9ÿP4ÿPSTUÿ[1T4T_ÿk9ÿ1UUSS69ÿ6ÿ1UUS9bÿ\[ 6]ÿ41T\Pÿ7S34Tÿ6ÿ244Tÿ]1\Pÿ\69[]4TÿRSPÿP4ÿTSbPÿW4TcS\4ÿ2[S94 4ÿ76TÿP4STÿZT6s4\ XÿR4ÿ31[9\P4U
         Y43ZÿiT6s4\ÿ86 ÿ{[SU4ÿ214Uÿ69ÿU11ÿ7T6]ÿ4[4 dOd[64ÿ6ÿP43Zÿ\69[]4Tÿ]1Q4ÿS976T]4UÿU4\SS69ÿRP49ÿPSTS9bÿ1ÿ4TcS\4ÿZT674 S6913_ÿf4ÿ136ÿT6334U
         6[ÿ1ÿ94Rÿ1Uÿ76T]1Xÿ0P4]4UÿOUXÿRPS\Pÿ491234ÿ1Uc4TS4Tÿ6ÿPSbP3SbPÿP4STÿ1UÿS9ÿ1ÿ\1T6[43ÿ126c4ÿ41T\PÿT4[3 ÿ214Uÿ69ÿ1TS2[4ÿP1ÿ]1Q4ÿP4ST
         2[S94 4ÿ[9S[4Xÿ[\Pÿ1ÿh71 ÿT4Z69US9b_hÿ0P44ÿ4776T ÿ\69TS2[4Uÿ6ÿ1Uc4TSS9bÿT4c49[4ÿ7T6]ÿ6[TÿW4TcS\4ÿ\14b6TS4ÿS9\T41S9bÿmrqÿ\6]Z1T4Uÿ6ÿP4
          PSTUÿ[1T4Tÿ67ÿ̀a`aÿ19Uÿmwqÿ\6]Z1T4Uÿ6ÿP4ÿPSTUÿ[1T4Tÿ67ÿ̀amp_
     40*,ÿ&/2ÿG#'%;-#2>#ÿ0*,ÿ}/'3);'&.03)&*ÿ-0'#-ÿ."0**#'-_ÿOUc4TSS9bÿT4c49[4ÿ7T6]ÿ6[TÿW437d4Tc4ÿ\P19943ÿS9\T414Uÿ2eÿ]6T4ÿP19ÿyxqÿe41Tÿ6c4Tÿe41TÿS9ÿP4
          PSTUÿ[1T4TXÿ1ÿ]1TQ4S9bÿS9c4 ]49 ÿ[\Pÿ1ÿS]ZT6c4]49 ÿ6ÿ6[Tÿ1UÿZ[T\P14ÿ736Rÿ19Uÿ2[S94 ÿ6R94TÿZ3176T]ÿP43Z4UÿS9\T414ÿP4ÿT449S69ÿT14ÿ76Tÿ969d
          4T]ÿ1Uc4TS4Tÿ2[Ub4 _ÿOUc4TSS9bÿT4c49[4ÿ7T6]ÿ~[3Sd36\1S69ÿ\[ 6]4TÿS9\T414Uÿ2eÿ]6T4ÿP19ÿlaqÿ\6]Z1T4Uÿ6ÿP4ÿPSTUÿ[1T4Tÿ67ÿ̀a`aÿ19Uÿ2eÿ941T3e
         maqÿ7T6]ÿP4ÿ4\69Uÿ[1T4Tÿ67ÿ̀a`mÿU[4ÿ6ÿ\69S9[4UÿT69bÿS94T4 ÿS9ÿT4\493eÿ31[9\P4UÿZT6U[\ Xÿ[\Pÿ1ÿY43ZÿO[US49\4Xÿ19UÿS]ZT6c4]49 ÿ6ÿ4 123SP4U
         ZT6U[\ Xÿ[\Pÿ1ÿWZ63SbPÿOU_
     #')>#2ÿ7&2#ÿ>0'/#ÿ3&ÿ0,>#23)-#2-_ÿk9\T41S9bÿ6[Tÿc13[4ÿZT6Z6SS69ÿ6ÿ1Uc4TS4Tÿ2eÿU43Sc4TS9bÿ]6T4ÿ1Uÿ\3S\Qÿ1ÿ1ÿ36R4Tÿ1c4T1b4ÿZTS\4ÿSÿ19ÿS]Z6T19ÿZ1Tÿ67
         6[TÿT14beÿ6ÿUTSc4ÿ369bd4T]ÿbT6RPÿ19UÿP1ÿ2449ÿ1ÿ76\[ÿ67ÿ6[TÿZT6U[\ÿS9c4 ]49ÿS9ÿT4\49ÿe41T_ÿk9ÿP4ÿPSTUÿ[1T4TXÿS]ZT6c4]49 ÿ6ÿ6[Tÿ1Uÿe 4]ÿ19U
         ]1\PS9bÿ4\P9636beXÿ1ÿR433ÿ1ÿ7T69d49Uÿ]4T\P19USS9bXÿUT6c4ÿ1ÿ̀rqÿe41Td6c4Tde41TÿS9\T414ÿS9ÿ1Uÿ\3S\Qÿ19Uÿ1ÿmqÿe41Td6c4Tde41TÿU4\T414ÿS9ÿ1c4T1b4ÿ8i8_
    [Tÿ\69S49ÿ44\[S69ÿ19Uÿ]6T4ÿT14bS\ÿS9SS1Sc4ÿUT6c4ÿ1ÿ̀`qÿe41Td6c4Tde41TÿS9\T414ÿS9ÿ94ÿT4c49[4ÿS9ÿP4ÿPSTUÿ[1T4TXÿ4[13ÿ6ÿ6[TÿT4\6TUÿ[1T4T3e
Z4T76T]19\4XÿU4ZS4ÿT4c49[4ÿ7T6]ÿ6[Tÿ4 1[T19 Xÿ41S3ÿÿP4Tÿ\14b6TS4ÿT4]1S9S9bÿ2436RÿZT4dZ19U4]S\ÿ34c43ÿU[4ÿ6ÿ8kvdmpÿ[Tb4ÿ19Uÿ91S69RSU4ÿ3126T
19Uÿ[ZZ3eÿ\P1S9ÿS[4_ÿO ÿ1ÿT4[3ÿ67ÿP4ÿT[\[T13ÿS]ZT6c4]49 ÿ6ÿ6[Tÿ2[S94 ÿ19Uÿ\69S9[4Uÿ4Z494ÿ]191b4]49Xÿ6[TÿT69bÿT4c49[4ÿZ4T76T]19\4ÿS9ÿP4ÿPSTU
[1T4Tÿ24947S4Uÿ6[Tÿ266]ÿ3S94ÿR4ÿU43Sc4T4Uÿ94ÿS9\6]4ÿ]1TbS9ÿ67ÿwqÿ19Uÿ1Us[ 4Uÿtuk0vOÿ]1TbS9ÿ67ÿ̀oq_ÿf4ÿZ319ÿ6ÿ7[TP4TÿS9c4 ÿS9ÿ6[TÿbT6RPÿS9SS1Sc4ÿS9
 P4ÿT4]1S9U4Tÿ67ÿP4ÿe41T_

                                                                                  `x
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